               Case 3:16-bk-02230-PMG        Doc 1170    Filed 08/27/18    Page 1 of 99



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

    In re:
                                                            Case No.: 3:16-bk-02230-PMG
    RMS TITANIC, INC., et al.,
                                                            Chapter 11
                      1
          Debtors.
    ________________________________/                       (Jointly Administered)

EQUITY COMMITTEE'S RESPONSE IN OPPOSITION TO DEBTORS' MOTION FOR
  ENTRY OF AN ORDER (A) APPROVING COMPETITIVE BIDDING AND SALE
    PROCEDURES; (B) APPROVING FORM AND MANNER OF NOTICES; (C)
   APPROVING FORM OF ASSET PURCHASE AGREEMENT; (D) APPROVING
 BREAK UP-FEE AND EXPENSE REIMBURSEMENT; (E) SCHEDULING AUCTION
    AND HEARING TO CONSIDER FINAL APPROVAL OF SALE, INCLUDING
 REJECTION OR ASSUMPTION AND ASSIGNMENT OF RELATED EXECUTORY
   CONTRACTS AND UNEXPIRED LEASES; (F) AUTHORIZING SALE OF THE
     TRANSFERRED ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
   ENCUMBRANCES, AND INTERESTS; AND (G) APPROVING SETTLEMENT
   WITH THE PACBRIDGE PARTIES; AND (H) GRANTING RELATED RELIEF

             The Official Committee of Equity Security Holders (the "Equity Committee") of Premier

Exhibitions, Inc. ("Premier"), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG, hereby files

its response in opposition ("Response") to the Debtors' Motion for Entry of an Order (a) Approving

Competitive Bidding and Sale Procedures; (b) Approving Form and Manner of Notices; (c)

Approving Form of Asset Purchase Agreement; (d) Approving Break-Up Fee and Expense

Reimbursement; (e) Scheduling Auction and Hearing to Consider Final Approval of Sale,

Including Rejection or Assumption and Assignment of Related Executory Contracts and Unexpired

Leases; (f) Authorizing Sale of the Transferred Assets Free and Clear of All Liens, Claims,



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.
            Case 3:16-bk-02230-PMG         Doc 1170       Filed 08/27/18     Page 2 of 99



Encumbrances, and Interests; and (g) Approving Settlement with the PacBridge Parties; and (h)

Granting Related Relief (Doc. 1055) (the "Sale Motion"), and in support of its Response

respectfully represents the following:

                                 PRELIMINARY STATEMENT

       The Debtors' proposed bid procedures are designed to chill bidding, deter outsiders from

participating in the auction process, and secure a sale of the Debtors' assets to their preferred buyer

– an insider coalition that benefits the Debtors' insiders to the detriment of stakeholders to who

they owe duties they have failed to fulfill. Although the Equity Committee takes issue with

virtually all of the bidding procedures proposed by the Debtors, and particularly the so-called

"protections" for the Debtors' preferred buyer, and although the Equity Committee firmly believes

the proposed bidding procedures should be overhauled in their entirety, this Response will focus

on four key components: (i) restrictions on solicitation of competing bids, (ii) due diligence

limitations, (iii) asset purchase agreement restrictions, (iv) improper financial protections, and (v)

uniformity concerns. The proposed bidding procedures are likewise unacceptable as they do not

stand up to the heightened scrutiny required of an insider sale under 11 U.S.C. § 363 and the

proposed purchaser has not acted in good faith and should not be afforded any protections under

11 U.S.C. § 363(m).

                                   FACTUAL BACKGROUND

       1.       On June 14, 2016 (the "Petition Date"), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned,

jointly administered bankruptcy case (the "Bankruptcy Case").

       2.       The Debtors continue to operate their businesses as debtors in possession pursuant

to Bankruptcy Code Section 1107 and 1108.

       3.       No trustee or examiner has been appointed in the Bankruptcy Case.

                                                  2
            Case 3:16-bk-02230-PMG         Doc 1170      Filed 08/27/18     Page 3 of 99



       4.       On June 21, 2016, the Debtors filed their Motion for Order Pursuant to Bankruptcy

Code Sections 105 and 363 and Bankruptcy Rules 6003, 6004, and 9014 Authorizing the Debtors

to Market and Sell Certain Titanic Artifacts Free and Clear of Liens, Claims, and Interests (Doc.

28) (the "Initial Sale Motion").

       5.       Paragraph 12 of the Initial Sale Motion provides in part that:

       In August 2010, the EDVA Court granted RMST a salvage award for its efforts in
       recovering and restoring the American Artifacts, and determined the award to be
       100% of the fair market value of the American Artifacts, or approximately $110
       million. R.M.S. Titanic, Inc. v. Wrecked & Abandoned Vessel, 742 F. Supp. 2d
       784, 809 (E.D. Va. 2010).

       6.       Paragraph 21 of the Initial Sale Motion provides in part that:

       For nearly 100 years, the wreck of the RMS TITANIC sat lifeless beneath the
       Atlantic Ocean. The 1987 expedition commenced nearly 30 years of uninterrupted
       efforts by RMST to recover and stabilize approximately 5,500 artifacts from the
       seabed, restore and conserve these artifacts, and exhibit them to tens of millions of
       people around the world. As the owner and Trustee of these artifacts, RMST
       recognizes and appreciates their historic value, and believes that the artifacts should
       remain together as a collection, made available to future generations. Recognizing,
       however, the extraordinary monetary value of the individual artifacts, and the
       Company's current circumstances, RMST believes a sale in bankruptcy of a very
       specific, limited number of artifacts from the French Collection serves the best
       interests of the Debtors' creditors, their shareholders, and both artifact collections.

       7.       Paragraph 22 of the Initial Sale Motion provides in part that:

       The American and French Titanic Artifact Collections have significant monetary
       value. In 2007, the American Collection was appraised at approximately $189
       million. In 2009, noted personal property and fine arts appraiser Richard-Raymond
       Alasko conducted an appraisal review of the 2007 appraisal, and confirmed the
       reliability of the report. . . . In 2014, Mr. Alasko issued a report in which he opined
       that the combination French and American Collections had a total market value of
       approximately $218 million.

       8.       Paragraph 23 of the Initial Sale Motion provides that:

       RMST has never sold an artifact, nor has any other entity ever legally recovered or
       sold artifacts from the wreck site of the Titanic. Nevertheless, there exists a fertile
       market for the sale of Titanic-related artifacts and memorabilia saved by survivors
       of the tragedy, or culled from the surface waters by rescuers. For example, a cracker


                                                 3
            Case 3:16-bk-02230-PMG        Doc 1170      Filed 08/27/18     Page 4 of 99



       from the ship sold for $23,000 last year. In 2013, a violin from a crew member sold
       for $1,454,400 at auction. In 2012, two menus sold for $140,000. While
       extraordinary, none of these items were recovered from the depths of the Atlantic,
       nor stabilized and conserved through decades of stewardship, which circumstances
       enhance the intrinsic value of the artifacts owned by the Company.

       9.       Paragraph 24 of the Initial Sale Motion provides that:

       Under these circumstances, the Debtors believe that a limited sale of artifacts
       (perhaps as few ten to twenty) from the French Collection would generate enough
       revenue to pay all of the Debtors' creditors in full, return all of the equity to the
       Debtors' shareholders and provide working capital for the Debtors as they emerge
       from bankruptcy. The proceeds from such a sale could likewise fund some or all of
       the Titanic reserve account referenced in Section V.D. of the Covenants, which is
       a dedicated endowment for the future care of the collections. Such a sale would
       leave the American Collection intact, and would preserve the vast majority of the
       approximately 2100 artifacts in the French Collection for presentation to future
       generations, thus facilitating the Debtors' ongoing obligations under the Covenants.

       10.      On July 5, 2016, the Debtors filed their Supplement (Doc. 69) to the Initial Sale

Motion.

       11.      On July 22, 2016, the Court entered the Order on Motion for Order Authorizing the

Debtors to Market and Sell Certain Titanic Artifacts Free and Clear of Liens, Claims, and Interests

(Doc. 102) denying the Initial Sale Motion.

       12.      On August 24, 2016, the Acting United States Trustee, Guy G. Gebhardt, appointed

the members of the Equity Committee.

       13.      On August 26, 2016, the Debtors filed an amended Scheduled D identifying each

of Lange Feng, Jihe Zhang, and Haiping Zou as an insider or related party. See Doc. 172 at pp. 5-

6.

       14.      On December 14, 2017, the Debtors filed a Joint Plan under Chapter 11 of the

Bankruptcy Code (the "Debtors' Plan") (Doc. 859). The Debtors never filed a disclosure statement

to accompany the Debtors' Plan.




                                                 4
         Case 3:16-bk-02230-PMG          Doc 1170      Filed 08/27/18     Page 5 of 99



       15.    On February 13, 2018, in the face of informal opposition from the Equity

Committee and other constituencies, the Debtors filed a Notice of Withdrawal of the Debtors' Plan

(Doc. 944).

       16.    On November 14, 2017, the Debtors filed their Motion for Entry of Order (i)

Approving Procedures in Connection with the Sale of All or Substantially All of the Debtors'

Assets; (ii) Scheduling a Related Auction; (iii) Approving Procedures Related to the Assumption

of Certain Executory Contracts and Unexpired Leases; (iv) Approving the Form and Manner of

Notice Thereof; (v) Approving Bid Protections; and (vi) Granting Related Relief (Doc. 811) (the

"Second Sale Motion").

       17.    On December 12, 2017, the Ad Hoc Equity Committee, composed of Apollo Global

Management, LLC ("Apollo") and Alta Fundamental Advisors, LLC ("Alta"), filed its Objection

to the Motion of the Debtors for Entry of Order (i) Approving Procedures in Connection with the

Sale of All or Substantially All of the Debtors' Assets; (ii) Scheduling a Related Auction; (iii)

Approving Procedures Related to the Assumption of Certain Executory Contracts and Unexpired

Leases; (iv) Approving the Form and Manner of Notice Thereof; (v) Approving Bid Protections;

and (vi) Granting Related Relief (Doc. 850) (the "Ad Hoc Committee Objection"). The Ad Hoc

Committee Objection, which is incorporated hereto by reference, is riddled with numerous

statements contradicting the relief now sought through the Sale Motion.

       18.    Paragraph 2 of the Ad Hoc Committee Objection provides that:

       The Debtors began these chapter 11 cases with the stated intention to reorganize.
       Through selling a select few of their French artifacts (the "French Artifacts"), the
       Debtors anticipated generating sufficient cash to repay their outstanding debt while
       keeping their U.S. and remaining French Artifacts intact for the benefit of existing
       equity security holders. These conservative expectations were fully supported by
       the appraised value of the Debtors' assets which exceeds $200 million – or over 10
       times the amount of the outstanding debt. Debtors' Motion for Order to Market and



                                                5
         Case 3:16-bk-02230-PMG            Doc 1170      Filed 08/27/18      Page 6 of 99



       Sell Certain Titanic Artifacts Free and Clear of Liens, Claims and Interests (Dkt.
       No. 28, the "French Artifacts Sale Motion") ¶ 22.
       19.    Paragraph 7 of the Ad Hoc Committee Objection provides that:

       The Debtors' assets are comprised of rare, unique, and highly valuable artifacts—
       as well as a portfolio of cash flow generative exhibition businesses. Among other
       valuable assets, the Debtors own 5,500 artifacts recovered from the wreck site of
       the RMS Titanic ("RMS Artifacts"). As the Debtors themselves have observed,
       "there exists a fertile market for Titanic-related artifacts and memorabilia . . . [and]
       extraordinary monetary value [to] the individual artifacts." French Artifacts Sale
       Motion ¶ 23.
       20.    Paragraph 13 of the Ad Hoc Committee Objection provides that:

       Although less than two months had elapsed since the favorable Title Dispute ruling,
       on November 14, 2017, the Debtors filed the Sale Motion seeking approval for the
       sale of all their assets pursuant to 11 U.S.C. § 363 (the "363 Sale"). Sale Motion ¶¶
       5-7. The Sale Motion omits any explanation of the Debtors' rationale for the
       proposed liquidation sale in light of the Title Dispute ruling. Moreover, the Sale
       Motion fails to provide a good business justification for the bidding process
       selected by the Debtors or any comparative transactions that demonstrate the
       proposed process is likely to garner favorable results. As indicated above, the
       Debtors have not consulted with any renowned auctioneers on the instant sales
       process (emphasis added).
       21.    On December 15, 2017, the Debtors filed their Notice of Withdrawal (Doc. 863) of

the Second Sale Motion.

       22.    On June 1, 2018, the Equity Committee filed its Chapter 11 Plan and accompanying

Disclosure Statement (Docs. 1045 and 1044).

       23.    On June 6, 2018, Premier Acquisition Holdings LLC (the "Purchaser") was formed.

The Purchaser's equity holders include three insiders, Lang Feng, Jihe Zhang, and Haiping Zou

(the "Secured Lenders").

       24.    On June 15, 2018, the Debtors filed the Sale Motion.

       25.    On June 29, 2018, the Creditors Committee filed its Chapter 11 Plan and

accompanying Disclosure Statement (Docs. 1085 and 1084).




                                                  6
          Case 3:16-bk-02230-PMG           Doc 1170      Filed 08/27/18         Page 7 of 99



       26.     On July 25, 2018, the Court conducted a status conference (the "Status

Conference") during which it heard from the Debtors, the Committees, the Purchaser, the DIP

lender, and other parties interested in the sale process regarding, among other things, the Sale

Motion, the Equity Committee's Plan and Disclosure Statement, and the Creditors' Committee's

Plan and Disclosure Statement.

       27.     Following the Status Conference, on August 3, 2018, the Court entered an

Amended Order on Status Conference (Doc. 1151), among other things, setting a hearing date for

consideration of the Sale Motion and Committees' disclosure statements and directing the parties

to seek approval from the United States District Court for the Eastern District of Virginia (the

"District Court") for those matters within the District Court's jurisdiction.

                             EQUITY COMMITTEE RESPONSE

       Where a debtor seeks to sell substantially all of its assets pursuant to section 363 of the

Bankruptcy Code, and seeks to do so outside of the safeguards afforded by the plan confirmation

process under the Bankruptcy Code, the transaction requires closer scrutiny than a typical sale of

assets outside the ordinary course of business. In re Weatherly Frozen Food Group, Inc. 149 B.R.

480, 483-484 (Bankr. N.D. Ohio 1992) ( "[a] sale of substantially all of Debtor's property outside

the ordinary course of business, and without a chapter 11 disclosure statement and plan, must be

closely scrutinized"); In re Plabell Rubber Products, Inc. 149 B.R. 475, 480 (Bankr. N.D. Ohio

1992); see also In re President Casinos, Inc., 314 B.R. 784, 785 (Bankr. E.D. Mo. 2004) (stating

that "the sale of all or substantially all of the assets of a chapter 11 estate in the absence of a

confirmed plan is not forbidden, but is subject to close scrutiny by creditors and the court").

       The criteria for approving the sale of assets outside the ordinary course of business under

section 363(b) of the Bankruptcy Code requires that a valid business justification exist for the sale,



                                                  7
          Case 3:16-bk-02230-PMG           Doc 1170      Filed 08/27/18      Page 8 of 99



that the price represent fair value, and that the parties negotiated and entered into the sale

transaction in good faith. In re Family Christian, LLC, 533 B.R. 600, 626 (Bankr. W.D.Mich.

1995) (court cited the following criteria: (i) whether adequate and reasonable notice has been

provided to parties in interest, including full disclosure of the sale terms and the debtor's

relationship with the purchaser, (ii) whether the sale price is fair and reasonable, and (iii) whether

the proposed buyer is proceeding in good faith); see also In re Lionel Corp., 722 F.2d 1063, 1070

(2d Cir. 1983); In re Abbotts Dairies of Pa., Inc., 788 F.2d 143, 149-50 (3d Cir. 1986). Courts

often rely on the price paid for assets at a competitive public auction to determine whether a

purchase price constitutes fair and/or market value. Abbotts Dairies, 788 F.2d at 149; In re

Lahijani, 325 B.R. 282, 289 (B.A.P. 9th Cir. 2005).

       The paramount goal in any proposed sale of property of the estate is to maximize the

proceeds received by the estate. Family Christian, 533 B.R. at 627 ("[w]hen considering offers for

the purchase of assets, the debtor's duty, and the primary concern of the bankruptcy court, is to

ensure that the sale maximizes the value of the asset sold"); In re Mushroom Trans. Co., Inc., 382

F.3d 325, 339 (3d Cir. 2004). To that end, courts will approve bidding procedures when they are

designed to maximize the value of the estate. See In re Calpine Corp. v. O'Brien Envl. Energy,

Inc. (In re O'Brien Envl. Energy), 181 F.3d 527, 535-37 (3d Cir. 1999); see also In re Cormier,

382 B.R. 377, 388 (Bankr. W.D. Mich. 2008) ("The purpose of procedural bidding orders is to

facilitate an open and fair public sale designed to maximize value for the estate."). Generally

stated, bidding procedures in the context of bankruptcy sales should enhance competitive bidding.

Id.; see also In re President Casinos, Inc., 314 B.R. 786, 789 (Bankr. E.D. Mo. 2004); In re

Integrated Res., Inc., 135 B.R. 746, 750 (Bankr. S.D.N.Y.) aff'd, 147 B.R. 650 (S.D.N.Y. 1992).




                                                  8
          Case 3:16-bk-02230-PMG             Doc 1170     Filed 08/27/18     Page 9 of 99



       A.    The Proposed Bidding Procedures Will Limit Competition and Chill
       Bidding.

       The key to success for any auction is robust competition. In this case, the proposed Bidding

Procedures (as defined in the Sale Motion) are merely protections for the Purchaser and other of

the Debtors' insiders, strategically designed to limit competition and chill bidding. The Bidding

Procedures issues are so extensive that the Court should not approve them in any respect. The

Court should deny the Sale Motion without prejudice and direct the Debtors to re-draft the Bidding

Procedures to be fair and equitable to all interested parties, not just the Debtors' insiders and the

insider Purchaser, as is the current case.

               i.        Restrictions on Solicitation of Competing Bids

       Under the APA, the Debtors agreed that between the date of entry into the APA, June 14,

2018, through the conclusion of the auction, the Debtors would not


           "(A) initiate contact with, or solicit or encourage submission of any inquiries,
           proposals or offers by, any Person with respect to a Competing Transaction or
           otherwise facilitate any effort or attempt to make a proposal or offer with
           respect to a Competing Transaction or (B) engage in, continue or otherwise
           participate in any discussions or negotiations regarding, or provide any non-
           public information or data to any Person relating to, any Competing
           Transaction" APA §5.12, at page 40. (Emphasis added.)

       The Equity Committee asserts that these restrictions will chill the bidding and have a

deleterious effect on the sale process. The deposition testimony of Marshall Glade, the Debtors'

sale advisor, supports that conclusion. During his August 24, 2018 deposition (the "Glade

Deposition"),2 Mr. Glade gave the following testimony:

              3     Q Okay. Would it be fair to say that
              4     GlassRatner's role [as Debtors' sales adviser] was to initiate contact with
              5     potential bidders, solicit and encourage potential
              6     bidders to submit inquiries, proposals or offers in

2
 Excerpts of the Glade Deposition are attached collectively as Exhibit A.

                                                   9
         Case 3:16-bk-02230-PMG          Doc 1170      Filed 08/27/18     Page 10 of 99



              7 order to facilitate efforts at making proposals or
              8 offers to the debtor in the sale process?
              9 A Yes. GlassRatner did.
              10 Q Okay and that's where GlassRatner's
              11 focus was?
              12 A Yes.
              13 Q Okay. And if GlassRatner hadn't done
               14 that, what would happen to the sale process?
               15 A There would have been no sale process.

See Glade Deposition transcript p. 21, lines 3-15. (Emphasis added.)

       Thus, by Mr. Glade's own testimony, the restrictions on the Debtors set forth in Section

5.12 of the APA would negatively impact the sale process. Those provisions should be deleted or

"there [will be] no sale process."

               ii.     Due Diligence Limitations.

       The Debtors have severely limited the ability of interested bidders to conduct due diligence

regarding the assets for sale, by erecting multiple procedural and financial roadblocks in the

Bidding Procedures. First, rather than advertising broadly and soliciting potential bidders, the

Bidding Procedures permit the Debtors to limit solicitation of bidders to only those potential

bidders who have previously conducted due diligence and been invited by the Debtors to bid. See

Sale Motion, ¶36. The Debtors should be required to cast a wider net. The limitation on potential

bidders directly limits competitive bidding in the first instance by limiting the pool of potential

competing bidders.

       Second, the Bidding Procedures require potential bidders to present evidence of financial

wherewithal before being admitted to the Virtual Data Room (the "VDR") to conduct due

diligence, contrary to typical procedure.     See Sale Motion, ¶36. That, too, will chill the

bidding. Many entities may elect not to bid, rather than choose to disclose confidential financial

information before they are even permitted to conduct due diligence. Financial wherewithal may



                                                10
         Case 3:16-bk-02230-PMG          Doc 1170      Filed 08/27/18     Page 11 of 99



be appropriate to become a Qualified Bidder, that is, to submit a bid and attend the auction, but

should not be a prerequisite to simply conducting due diligence.

                iii.    Restrictions Related to the Proposed APA.

        The Sale Motion seeks to require interested bidders to submit competing bids on

substantially the same terms as those contained in the Proposed APA, and to disregard competing

bids that contain material alterations to the Proposed APA. The Debtors' requested requirements

presuppose the Proposed APA is the most appropriate form for this sale transaction, when in fact,

it will chill bidding and prevent discovery of other business models that may result in a better

return to the estate.

                iv.     Unreasonable Financial Protections.

        Certain of the financial terms in the Bidding Procedures, including the proposed break-up

fee, minimum bidding increments, and expense reimbursement, should be stricken and redrafted.

        The definition of the "Break-up Fee" is not clear. While page 19 of the Sale Motion defines

the break-up fee as the greater of $500,000 or 3% of the Purchase Price3, later paragraph 42 of the

Sale Motion defines the break-up fee as $500,000 or "3% of the Purchase Price set forth in any

Prevailing Bid." (Emphasis added.) Those calculations are different. If the break-up fee is

calculated from the Prevailing Purchase Price at the end of the auction, the estate's share of each

incremental bid will diminish as the break-up fee increases.

        A breakup fee is a "fee paid by a seller to a prospective purchaser in the event that a

contemplated transaction is not consummated." Calpine Corp., 181 F.3d at 528. The fee is

intended to compensate the bidder for the time, effort, and risk of being the stalking horse, and to




3
  The proposed APA defines "Purchase Price" in paragraphs 32 and 85 as "$17.5 million subject
to the adjustments set forth therein."

                                                11
         Case 3:16-bk-02230-PMG            Doc 1170       Filed 08/27/18     Page 12 of 99



encourage the bidder to do the necessary due diligence with the assurance that its efforts will be

compensated if it is unsuccessful. Id. at 535. A break-up fee that fluctuates based upon the

prevailing purchase price runs the risk of significantly overcompensating a stalking horse bidder

for its risk and diligence prior to the auction, particularly where the costs of that risk and diligence

are known by the time of the auction. And, any overcompensation, as would surely occur based

on the Debtors' proposed calculations, accrues to the detriment of the estate.

        Although a break-up fee set at 3% of the Purchase Price is not out of line with regularly

approved break-up fees, it should be measured against the Purchaser's initial bid of $17.5 million,

less any Purchase Price Adjustment. The Equity Committee submits that a break-up fee capped

at $500,000 is more than fair, especially for a transaction involving insiders.

        The Equity Committee further submits that the Debtors' proposed minimum bidding

increments at $500,000 are excessive, and that bidding increments of $50,000 are more than fair

and will encourage bidding. Also troubling is that if a third party outbids the Purchaser, the

Proposed Bidder Protections permit the Purchaser just to match the overbid, which should not be

permitted. See Sale Motion, ¶36. The Purchaser must be required to bid in the same minimum

bid increments as all other bidders to remain in the auction and continue to bid against the prior

bid. To do otherwise will work as a disincentive for competing bidders to increase their bids.

        Finally, the Purchaser's expense reimbursement must be limited to the expenses incurred

by the Purchaser after the constituencies formed the stalking horse group. Expenses of PacBridge

going back to last spring when it bid as PacBridge, and expenses of Apollo and Alta before they

joined the stalking horse group, should not be reimbursable. Likewise, expenses of PacBridge,

Apollo, and Alta in advancing their interests in the Debtors should be distinguished and not be

reimbursable.



                                                  12
         Case 3:16-bk-02230-PMG           Doc 1170      Filed 08/27/18    Page 13 of 99



               v.      Uniformity Concerns.

       The Equity Committee firmly believes the sale process should occur, as much as possible,

before this Court with this Court conducting and supervising any auction. This Court is well aware

of the checkered, protracted history of this bankruptcy case, and to unify the sale and plan

processes before this Court promotes efficiency, uniformity, and certainty. To that end, the auction

and all related proceedings should be conducted exclusively before this Court. The auction should

not occur in the Debtors' attorneys' offices in Atlanta, Georgia.

       Furthermore, as a procedural matter, there are significant differences among the Bidding

Procedures contained in the Asset Purchase Agreement, the Summary of the Bidding Procedures

in the Sale Motion, and the Bidding Procedures set forth on the exhibit to the Proposed Bidding

Procedures Order. Many of these are contradictory, and have created confusion as to what

procedure the Debtors seek to have approved. The Debtors should be required to submit a single

form of Bidding Procedures for consideration by the Court.

       B.      The Sale Is an Insider Transaction.

       The sale transaction in the Sale Motion and the Bidding Procedures must be closely

scrutinized because the transaction was negotiated by and among insiders of the Debtors, as

defined in 11 U.S.C. § 101(31). See U.S. Bank N.A. v. Village at Lakeridge, LLC, 138 S. Ct. 960,

971 (March 5, 2018) (insider transaction "will not be considered an arms-length transaction and

will be subject to close scrutiny") (concurring opinion); In re Tidal Construction Co., 446 B.R.

620, 624 (Bankr. S.D. Ga. 2009) ("§ 363 sales to insiders are subject to a higher scrutiny because

of the opportunity for abuse"); Crown Vill. Farm, LLC v. Arl. L.L.C. (In re Crown Vill. Farm,

LLC), 415 B.R. 86, 93 (Bankr. D. Del. 2009) (holding that "[t]he sale process will be under the

close scrutiny of the Court as required where the stalking horse is an insider"); Citicorp Venture



                                                 13
            Case 3:16-bk-02230-PMG           Doc 1170     Filed 08/27/18     Page 14 of 99



Capital, Ltd. v. Comm. of Creditors Holding Unsecured Claims (In re Papercraft Corp.), 211 B.R.

813, 823 (W.D. Pa. 1997), aff'd, 160 F.3d 982 (3d Cir. 1998) ("[I]nsider transactions are subjected

to rigorous scrutiny and when challenged, the burden is on the insider not only to prove the good

faith of a transaction but also to show the inherent fairness from the viewpoint of the corporation

and those with interests therein."); see also Brouwer v. Ancel & Dulap (In re Firstmark Corp.), 46

F.3d 653, 656 (7th Cir. 1995) (citing with approval the district court's statement that "sale of a

debtor's property to an insider is subject to close scrutiny"), on subsequent appeal, 132 F.3d 1179

(7th Cir. 1997); Sltuck v. Seminole Oil & Gas Corp. (In re Seminole Oil & Gas Corp.), No. 91-

1636 (HEW), 1992 WL 110720, at *6 (4th Cir. May 22, 1992) ("[Transactions involving insiders

should be closely scrutinized") (quoting Harman v. First Am. Rank (In re Jeffrey Bigelow Design

Grp., Inc.), 956 F.2d 479, 484 (4th Cir. 1992) (internal citations omitted). Insider transactions

cannot be approved unless they are the product of an "arm's length bargain" with "inherent

fairness" from the viewpoint of interested parties. Pepper v. Litton, 308 U.S. 295, 306-07 (1939);

see also Brewer v. Erwin & Erwin PC. (In re Marquam Inv. Corp.), 942 F.2d 1462, 1466 (9th Cir.

1991) (applying "rigorous scrutiny" to an insider's transactions with a bankrupt corporation).

           In the Sale Motion, the Debtors go to great lengths to deny that the sale involves insiders,

primarily by certifying that the Purchaser is not an affiliate under 11 U.S.C. § 101(20). In fact, the

Debtors' current position is contradictory to the representation made by the Debtors in their

Amended Schedule D, on which they scheduled the Secured Lenders as insiders. See Amended

Schedule D, Doc. 172, pp. 5-6. Thus, the Debtors are wrong to argue that the Purchaser is not an

insider.

           In any event, this Court should examine whether the terms of the Proposed APA, including

the Bidding Procedures, were negotiated in good faith and at arm's length by the Debtors and the



                                                   14
         Case 3:16-bk-02230-PMG              Doc 1170   Filed 08/27/18    Page 15 of 99



Purchaser. First, the Purchaser did not negotiate the Proposed APA's terms, nor could it have, as

the Purchaser was not formed until June 6, 2018. See Certificate of Formation of Premier

Acquisition Holdings LLC, attached hereto and incorporated herein as Exhibit B. The Term Sheet

to which the Debtors agreed and from which the Asset Purchase Agreement was drafted, was

executed in May 2018. Thus, the Purchaser could not have negotiated the APA's terms since it did

not exist when those terms were agreed upon.       In fact, the APA terms were negotiated by the

signatories to the APA, including PacBridge, the Secured Lenders, and Apollo and Alta (the

"Private Equity Funds").

       The interests of the Secured Lenders in the Debtors' operations are explained in an October

30, 2015 Schedule 13D (the "13D Filing") with the Securities and Exchange Commission, which

identified the Secured Lenders as members of a group that controlled the Debtors (the "Control

Group"). A copy of that 13D Filing is attached as Exhibit C and incorporated herein by reference.

Each of Lange Feng, Jihe Zhang, and Haiping Zou is an insider because each was a "person in

control of the Debtor" under 11 U.S.C. § 101(31), and the Debtors have already acknowledged

their insider status. (Doc. 172, pp. 5-6).

       Further, Mr. Wong's role with the Debtor has never been fully clarified, but he and the

Debtors/Mr. Bao have a long term relationship and the nature and extent of that relationship should

be fully disclosed by the Debtors before the Bidding Procedures are approved.

       C.      The Proposed Purchaser is Not a Good Faith Purchaser.

       A "good-faith purchaser" is "one who purchases the assets for value, in good faith and

without notice of adverse claims." Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985). "A

purchaser's good faith is shown "by the integrity of his conduct during the course of the sale

proceedings." In re Gucci, 126 F.3d 380, 390 (2d Cir. 1997). "The absence of good faith is shown


                                                 15
         Case 3:16-bk-02230-PMG           Doc 1170      Filed 08/27/18     Page 16 of 99



by fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to take

grossly unfair advantage of other bidders." Id.

       A good-faith analysis examines "the purchaser's conduct in the course of the bankruptcy

proceedings[,] ... [which includes] the purchaser's actions in preparation for and during the sale

itself." In re GSC, Inc., 453 B.R. 132, 180-181 (Bankr. S.D.N.Y. 2011). "The purchaser is

prohibited from engaging in any fraudulent or collusive actions that are specifically intended to

affect the sale price or control the outcome of the sale." Id. at 180–81. "Thus, notwithstanding the

timing of the questionable conduct, the relevant inquiry [remains] whether that conduct was

intended to control the sale price or take unfair advantage of prospective bidders." Id. at 181.

       In fact, the Private Equity Funds specifically requested assistance from the Debtors to put

them in touch with "insider-affiliated Equity Holders" so that they might solicit them to be plan

sponsors with the Private Equity Funds' plan to acquire the Debtors to the exclusion of all "outside"

equity holders. That is contained in a Term Sheet (the "Private Equity Term Sheet") submitted to

the Debtors on January 22, 2018, a copy of which is attached hereto and incorporated herein as

Exhibit D. Under the Private Equity Term Sheet, the Private Equity Funds proposed to acquire

the Debtors through a Chapter 11 plan and to include as Plan Sponsors insider-affiliated equity

holders, and also offered that the "President and CEO of the Debtors [Daoping Bao] will be one

of the members of the Board of Directors." See Exhibit D at 5.

       In his deposition testimony, Mr. Glade, in his capacity as the Debtors' financial advisor and

sale advisor, admitted that he introduced representatives of PacBridge and Alta to each other in

January or February 2018 (he could not recall when he made the introduction) with the intention

that they join to make a single, joint proposal for the Debtors. See Exhibit A, p. 71, lines 13-19.




                                                  16
           Case 3:16-bk-02230-PMG         Doc 1170      Filed 08/27/18    Page 17 of 99



Mr. Glade testified "it made sense" to put them together because they both held equity in the Debtor

that Glade described as a "blocking position":

       4 Q Please let me finish the question. Was it

       5 your intention in putting Giovanni Wong and Gilbert

       6 Li together that they and their representative

       7 groups make a joint offer for the company?

       8      A Yes.

       9      Q Were you at all concerned about putting

       10 PacBridge in touch with a potentially competing

       11 bidder when you made that introduction?

       12      A No.

       13      Q And why is that?

       14      A   I felt that they both had blocking

       15 positions, and that they -- blocking positions to a

       16 transaction. And getting them on the same page

       17 would effect a transaction faster.

       18      Q And what do you mean by blocking

       19 positions?

       20      A They could both object to each other's

       21 offer.

       22      Q   In what capacity do you mean they could

       23 object to it?

       24      A As equity holders who would have to vote



                                                 17
         Case 3:16-bk-02230-PMG           Doc 1170     Filed 08/27/18    Page 18 of 99



       25 on this transaction.

See Exhibit A, p. 76, lines 4-25.

       Q Do you know how they [PacBridge and Alta] were introduced?

               19 A Yeah, yeah, yeah, I introduced the two of

               20 them.

               21 Q And how did that come about?

               22 A In understanding who owns the company and

               23 who was a key representative for the company, I --

               24 it made sense to bring them together.

               25 Q What do you mean by that?

               1 A Well, Gilbert and Bill have 16 percent,

               2 and Gio [PacBridge] is essentially representing 45 percent. If

               3 not 30 percent of the company. So if one was to

               4 make an offer, the another needed to accept the

               5 offer. So they needed to understand what was going

               6 on together.

               7 Q And did you suggest they get together to

               8 talk?

               9 A Yes.

See Transcript p. 71, line 19 through p. 72, line 9.

       In fact, neither Apollo and Alta, with 16% of the company's common stock, nor PacBridge,

which Glade said controlled 30% or 45% of the stock, had a "blocking position". Under

Bankruptcy Code § 1126(d), for a class of interests to accept a plan, the class must vote by two-



                                                 18
         Case 3:16-bk-02230-PMG            Doc 1170      Filed 08/27/18      Page 19 of 99



thirds in amount to accept the plan. A holder of in excess of one-third of the voting equity

securities can "block" acceptance by that class. According to Mr. Glade, Apollo and Alta held

16% of the shares, which is less than one-third and so is not a blocking position. Glade also

testified that PacBridge controlled 30% or 45% of the shares. But those shares are in a voting trust

controlled by Daoping Bao. See Exhibit C. Thus, neither the Secured Lenders, nor PacBridge as

their agent, controlled at least one-third of the voting equity securities. Accordingly, Mr. Glade's

excuse for putting together the PacBridge Group and the Private Equity Funds does not stand up

to scrutiny.

        At the time Mr. Glade brought the PacBridge Group together with the Private Equity

Funds, each was a separate potential bidder for the Debtors or their assets. Moreover, Mr. Glade

testified he had no concerns about Alta's, Apollo's, or PacBridge's financial wherewithal and ability

to finance a transaction. See Exhibit A, p. 92, line 9 through p. 93, line 7.

        So, it appears that the Debtors, through their financial advisor and sales advisor, joined two

separate, potentially competing bidders, each with financial wherewithal to finance a transaction,

on the legally incorrect supposition that they each were equity holders who held blocking positions

and could vote against each other. Notwithstanding that the joining of PacBridge and Alta was a

seminal point in this case and led to the current stalking horse bid, Mr. Glade testified that he could

not recall with whom he had these conversations or whether the conversations were by telephone,

by e-mail, or in person. And, neither the Debtors nor Glass Ratner has produced any emails

reflecting these discussions. Moreover, Mr. Glade testified that he could not recall whether he

attended even a single meeting with the combined PacBridge/Alta Group during the period

between receipt of the Private Equity Term Sheet and the date of the mediation, February 27, 2018,

at which PacBridge and the Private Equity Fuds appeared as joint bidders for the Debtors. See



                                                  19
         Case 3:16-bk-02230-PMG            Doc 1170      Filed 08/27/18      Page 20 of 99



Exhibit A, p. 81, line 25 through p. 84, line 24. Further discovery is necessary to determine the

truth about how and why two viable, potentially competing bidders, PacBridge and the Private

Equity Funds, were brought together by the Debtors to make a single offer for the Debtors.

       In any event, there is no evidence that the Purchaser, if the successful bidder at the Auction,

should be afforded the "good-faith purchaser" protections of section 363(m). There are valid

questions whether the parties comprising the Purchaser have proceeded in good faith or with

integrity in the sale proceedings in this case. Furthermore, it is clear the Sale Motion was

negotiated between insiders, is a sale to an entity consisting of insiders, and is sale for the benefit

of insiders and to the substantial detriment of non-insider creditors and equity holders.

       As further evidence of the Purchaser's lack of good faith, the Purchaser admitted it is

purchasing the Debtors' assets for "going concern" value while intending to realize "liquidation

value" in the future. Thus, the Purchaser intends to do the very thing the Debtors proposed to do

at the outset of the case – sell the French artifacts. At the Status Conference, the Equity

Committee's counsel suggested that if the Purchaser were to purchase the stock of RMST and

thereby acquire control over the French and American Artifacts collections, a trust should be

imposed upon the French Artifacts so that if they were to be sold in the future, the proceeds would

be paid into the estate. See excerpts of July 25, 2018 Status Conference transcript, a copy of which

is attached hereto and incorporated herein as Exhibit E, pp. 50-51. In response, counsel to

members of the Purchaser finally admitted the proceeds from the sale of the French Artifacts

represent the "only upside that the [Purchaser] is ever going to see from the transaction." See

Exhibit E, p. 60. Thus, the Purchaser does not intend to maintain the two collections as an

integrated whole for the long term. Rather, the Purchaser will seek to realize the "upside" on its

investment by selling the French Artifacts in the future after having paid off creditors at a discount



                                                  20
         Case 3:16-bk-02230-PMG             Doc 1170      Filed 08/27/18      Page 21 of 99



and denying any recovery to non-insider equity holders. This is additional evidence of the

Purchaser's lack of good faith. Under the foregoing circumstances, a finding of "good faith" under

§ 363(m) should be denied.

        D.      A Trust Should be Imposed

        The Court should condition any sale(s) pursuant to the Sale Motion upon the imposition of

a trust on the French Artifacts so that proceeds from any buyer's subsequent attempt to sell any of

the French Artifacts will be held for the benefit of the estate. To do otherwise would permit the

Purchaser to acquire the assets by paying the "going concern" value of the enterprise while

acquiring the "liquidation value" where the bulk of the value resides. The only reason for the

Purchaser not to agree to that trust would be that it intended to realize that value for itself after

cutting off the rights of other parties in interest. It would be inequitable for the Purchaser to realize

a windfall from the liquidation of the French Artifacts in the future while denying that value to the

current creditors and equity holders if the sale is approved. The Bankruptcy Court should retain

jurisdiction to enforce the trust.

        E.      Timing of Sale and Plan Processes

        If the Court approves the Committees' respective Disclosure Statements and permits plan

solicitation, any confirmation hearing and sale hearing should be held concurrently. As the three

proposals are mutually exclusive, only one may be approved. And, as an aside, the Equity

Committee submits that if the Court confirms one of the Chapter 11 Plans and does not approve

the sale to the Purchaser under the Sale Motion, the Break-up Fee should not be paid the Purchaser

since the auction did not result in any benefit to the estate. A Break-up Fee of 3% of the purchase

Price should only be paid if the Purchaser is outbid at the auction and the Court approves the Sale

Motion and the Code §363 sale.



                                                   21
           Case 3:16-bk-02230-PMG           Doc 1170      Filed 08/27/18      Page 22 of 99



                                   RESERVATION OF RIGHTS

          Nothing set forth herein is intended nor shall it be deemed to modify, limit, release, reduce,

or waive any of the Equity Committee's rights, remedies, and privileges, at law or in equity,

including its right to amend and/or supplement this Response, all of which are specifically

reserved.

                                           CONCLUSION

          WHEREFORE, the Equity Committee respectfully requests the Court enter an Order

denying the Sale Motion and granting such other and further relief as the Court deems just and

proper.

 Date: August 27, 2018                            By: /s/ Peter J. Gurfein
                                                  Peter J. Gurfein
                                                  LANDAU GOTTFRIED & BERGER LLP
                                                  1801 Century Park East, Suite 700
                                                  Los Angeles, California 90067
                                                  (310) 557-0050
                                                  (310) 557-0056 (Facsimile)
                                                  pgurfein@lgbfirm.com
                                                  -and-

                                                  AKERMAN LLP
                                                  By: /s/ Jacob A. Brown
                                                  Jacob A. Brown
                                                  Florida Bar No. 170038
                                                  50 North Laura Street, Suite 3100
                                                  Jacksonville, Florida 32202
                                                  (904) 798-3700
                                                  (904) 798-3730 (Facsimile)
                                                  Jacob.brown@akerman.com
                                                  Attorneys for the Official Committee of Equity
                                                  Security Holders of Premier Exhibitions, Inc.




                                                   22
        Case 3:16-bk-02230-PMG          Doc 1170      Filed 08/27/18    Page 23 of 99



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 27, 2018, the foregoing was transmitted to the Court
for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will
send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on August 27, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.
                                                             /s/ Jacob A. Brown
                                                             Attorney




                                               23
       Case 3:16-bk-02230-PMG       Doc 1170   Filed 08/27/18     Page 24 of 99



                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
       Case 3:16-bk-02230-PMG         Doc 1170    Filed 08/27/18    Page 25 of 99



PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
       Case 3:16-bk-02230-PMG       Doc 1170   Filed 08/27/18   Page 26 of 99



TSX Operating Co., LLC                  Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                         c/o Ezra B. Jones
70 W. 40th Street                       305 Crosstree Lane
New York, NY 10018                      Atlanta, GA 30328
Creditor Committee                      Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 27 of 99




              Exhibit A
         Case 3:16-bk-02230-PMG    Doc 1170    Filed 08/27/18   Page 28 of 99



                                                                            Page 1

 1                  IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
 2                          JACKSONVILLE DIVISION
 3
 4      In re:
                                           Case No. 3:16-bk-02230-PMG
 5      RMS TITANIC, INC.,
        et al.,                            Chapter 11
 6                     Debtors.
 7
 8                         30(b)(6) DEPOSITION OF
 9             GLASSRATNER ADVISORY & CAPITAL GROUP, LLC
10                                MARSHALL GLADE
11                             August 24, 2018
12                                  12:16 p.m.
13             GlassRatner Advisory & Capital Group, LLC
14                                  Suite 1225
15                        3445 Peachtree Road, N.E.
16                             Atlanta, Georgia
17           Carolyn J. Smith, CCR, RPR, RMR, CCR-A-1361
18
19
20
21
22
23
24
25

                                    Veritext Legal Solutions
     800-726-7007                                                               305-376-8800
      Case 3:16-bk-02230-PMG       Doc 1170        Filed 08/27/18    Page 29 of 99


                                          Page 2                                                  Page 4
 1          DESCRIPTION OF EXHIBITS                   1       INDEX TO EXAMINATION
 2                                                    2
 3   EXHIBITS         DESCRIPTION                PAGE 3                   Page
 4                                                    4
 5   Exhibit 1     Subpoena to Produce Documents, 8 5 By Mr. Gurfein            8
 6             Information, or Objects or to          6
 7             Permit Inspection of Premises          7
 8             in a Bankruptcy Proceeding             8
 9   Exhibit 2     Exhibit "A" to Subpoena to     8   9
10             GlassRatner Advisory & Capital        10
11             Group, LLC                            11
12   Exhibit 3     Subpoena to Testify at a     8    12
13             Deposition in a Bankruptcy            13
14             Case (Or Adversary Proceeding)        14
15   Exhibit 4     Notice of Deposition of     11    15
16             Corporate Representative              16
17             of GlassRatner Advisory &             17
18             Capital Group, LLC                    18
19   Exhibit 5     Premier Exhibitions Target    25  19
20             List - Signed NDAs                    20
21   Exhibit 6     e-mail from Mr. Li, to     42     21
22             Mr. McCaleb, 12/29/17,                22
23             GLASS000162                           23
24   Exhibit 7 e-mail from Mr. Glade, to        43   24
25             Mr. Li, 1/2/18, GLASS000165-66        25
                                          Page 3                                                  Page 5
 1          DESCRIPTION OF EXHIBITS              1    APPEARANCES OF COUNSEL:
 2            (Continued)                        2
 3                                               3    On behalf of the Debtors:
 4   EXHIBITS        DESCRIPTION            PAGE 4
 5                                               5          MATTHEW R. BROOKS
 6   Exhibit 8 e-mail from Mr. Glade, to   58    6          Attorney at Law
 7             Mr. Cavender, 2/7/18,             7          Troutman Sanders, LLP
 8             GLASS000214                       8          Suite 3000
 9   Exhibit 9    e-mail from Mr. Li, to  59     9          600 Peachtree Street, N.E.
10             Mr. Glade, 2/23/18,              10          Atlanta, Georgia 30308
11             GLASS000234-235                  11          (404)885-2618
12   Exhibit 10 e-mail from Mr. Glade, to   60  12
13             Mr. Schwartz, 1/10/18,           13    On behalf of the Official Committee of Equity
14             GLASS000167                      14    Security Holders of Premier Exhibitions, Inc.:
15   Exhibit 11 Plan Term Sheet, Premier     63 15
16             Exhibitions, Inc.,               16          PETER J. GURFEIN
17             GLASS000184-192                  17          Attorney at Law
18   Exhibit 12 e-mail from Mr. Wong, to     69 18          Landau Gottfried & Berger, LLP
19             Mr. Glade, 3/9/18,               19          Suite 700
20             GLASS000408-419                  20          1801 Century Park East
21   Exhibit 13 e-mail from Mr. Roach, to    87 21          Los Angeles, California 90067
22             Mr. Grossman, 3/13/18,           22          (310)691-7374
23             RMST_EC2018 Subpoena_001694-1706 23
24                                              24
25                                              25
                                                                                         2 (Pages 2 - 5)
                                    Veritext Legal Solutions
800-726-7007                                                                             305-376-8800
      Case 3:16-bk-02230-PMG            Doc 1170          Filed 08/27/18             Page 30 of 99


                                                 Page 6                                                                  Page 8
 1   APPEARANCES OF COUNSEL:                               1        (Exhibit 1, Exhibit 2 and Exhibit 3
 2     (Continued)                                         2 marked)
 3                                                         3        MR. GURFEIN: Would you swear in the
 4   On behalf of Premier Acquisition Holdings, LLC,       4 witness, please.
 5   Alta Fundamental Advisers, LLC, Apollo Global         5               MARSHALL GLADE,
 6   Management:                                           6 30(b)(6) GLASSRATNER ADVISORY & CAPITAL GROUP, LLC
 7         JENNIFER FELDSHER                               7 having been first duly sworn, was examined and
 8         Attorney at Law                                 8 testified as follows:
 9         Bracewell                                       9               EXAMINATION
10         49th Floor                                     10 BY MR. GURFEIN:
11         1251 Avenue of the Americas                    11    Q    Would you state your full name for the
12         New York, New York 10020                       12 record, spelling your last name.
13         (212)508-6137                                  13    A    Marshall Glade, G-L-A-D-E.
14                                                        14    Q    Have you had your deposition taken before?
15   On behalf of Lange Feng, Jihe Zhang,                 15    A    No.
16   Haiping Zou, PacBridge Capital Partners (HK)         16    Q    Okay. Let me go over a couple of ground
17   Limited, Premier Acquisition Holdings, LLC:          17 rules. And I want to make sure you understand
18         SCOTT M. GROSSMAN                              18 these. And you're with your counsel today for
19         Attorney at Law                                19 GlassRatner.
20         Greenberg Traurig, P.A.                        20        Any time you want to confer with counsel,
21         Suite 2000                                     21 just indicate that you want to do so. And I'm sure
22         401 East Las Olas Boulevard                    22 you're not going to be shy about interjecting if
23         Fort Lauderdale, Florida 33301                 23 anything comes up that you want to mention.
24         (954)768-5212                                  24        MS. HOMER: That's correct.
25                                                        25

                                                 Page 7                                                                  Page 9
 1   APPEARANCES OF COUNSEL:                               1   BY MR. GURFEIN:
 2     (Continued)                                         2       Q Okay. I'm going to be asking you
 3                                                         3   questions. And I'll ask for answers from them. And
 4   On behalf of GlassRatner:                             4   the testimony is going to be the combination of the
 5                                                         5   questions and the answers.
 6         ILYSE M. HOMER                                  6          If you don't understand a question that
 7         Attorney at Law                                 7   I'm asking, please let me know and ask me to either
 8         Berger Singerman LLP                            8   rephrase it or explain to you what you don't
 9         Suite 1900                                      9   understand. Um, I'm going to be asking for your
10         1450 Brickell Avenue                           10   best recollection. It's not a memory test, your
11         Miami, Florida 33131                           11   best recollection as to facts that you've -- have to
12         (305)755-9500                                  12   testify with respect to questions I ask.
13                                                        13          When we're finished, you will have an
14                                                        14   opportunity to review the transcript and make any
15         (Pursuant to Article 10(B) of the Rules        15   corrections you may want to do. And we'll cover
16   and Regulations of the Georgia Board of Court        16   that in the stipulations at the end as to the timing
17   Reporting, a written disclosure statement was        17   and performance of -- of that task. If you need a
18   submitted by the court reporter to all counsel       18   break for any reason, let me know, and we'll take a
19   present at the proceeding.)                          19   break.
20                                                        20          And then let me ask you, are you -- are
21                                                        21   you on any medications today that would impair your
22                                                        22   ability to testify?
23                                                        23       A No.
24                                                        24       Q Okay. Is there any reason that we can't
25                                                        25   continue today, proceed with today's examination,

                                                                                                                3 (Pages 6 - 9)
                                         Veritext Legal Solutions
800-726-7007                                                                                                      305-376-8800
      Case 3:16-bk-02230-PMG               Doc 1170           Filed 08/27/18        Page 31 of 99


                                                    Page 18                                                       Page 20
 1   access to the data room.                                  1       A Yes.
 2          (Off-the-record discussion)                        2       Q Okay. And did you do anything to
 3   BY MR. GURFEIN:                                           3   facilitate the efforts of the potential bidders to
 4       Q And in sending out the teaser to the                4   make proposals or offers to the company to buy their
 5   potential bidders, was this to solicit their              5   assets or their -- or the company itself?
 6   interest in the sale process?                             6       A I don't -- I don't understand that
 7       A Yes.                                                7   question. What do you mean by facilitate?
 8       Q And if they contacted you back after                8       Q Let's -- let's try it this way. Did you
 9   having received the teaser, did you do anything to        9   have occasion to have people going to the virtual
10   encourage them to take a look at the assets, do due      10   data room and have questions about either
11   diligence, express an interest in the sale?              11   information that was there or information that they
12       A Yes.                                               12   were lacking?
13       Q Okay. And did you ask them to submit               13       A Yes.
14   inquiries to you if they had questions about the         14       Q Okay. And how did you respond to those
15   assets?                                                  15   inquiries?
16       A Yes, but this was all only after an NDA --         16       A We would respond to them in the
17       Q After a --                                         17   appropriate manner, whatever -- (witness shook head
18       A -- was signed.                                     18   negatively.)
19       Q -- nondisclosure agreement --                      19       Q Can you give me an example of what an --
20       A Yes.                                               20       A Well, if --
21       Q -- had been signed?                                21       Q -- appropriate manner might be?
22       A Yes.                                               22       A -- if somebody requested a income
23       Q Okay, and after doing -- I'm assuming --           23   statement, we would provide the income statement.
24   and correct me if I'm wrong -- that the purpose of       24       Q So it facilitated them doing their
25   the NDA was to grant them access to the data room so     25   diligence to leading to an offer?
                                                    Page 19                                                       Page 21
 1   they could do due diligence; is that correct?             1       A Correct, (witness nodded head
 2       A That's one of the purposes of the NDA.              2   affirmatively.)
 3       Q Okay. What's -- what are the other                  3       Q Okay. Would it be fair to say that
 4   purposes?                                                 4   GlassRatner's role was to initiate contact with
 5       A So that we can have more substantial                5   potential bidders, solicit and encourage potential
 6   discussions regarding a potential transaction. Um,        6   bidders to submit inquiries, proposals or offers, in
 7   Premier being a public company, we have to be -- we       7   order to facilitate efforts at making proposals or
 8   had to be particularly sensitive to an NDA and not        8   offers to the Debtor in the sale process?
 9   providing a non-public information to someone who         9       A Yes. GlassRatner did.
10   may be trading in the stock, so we had to make sure      10       Q Okay. And that's where GlassRatner's
11   that we were particularly diligent on the NDA's.         11   focus was?
12       Q As a general rule, when -- when parties            12       A Yes.
13   conducted due diligence, did you follow up with them     13       Q Okay. And if GlassRatner hadn't done
14   with respect to the potential sale?                      14   that, what would happen to the sale process?
15       A Yes.                                               15       A There would have been no sale process.
16       Q Did you solicit proposals from them --             16       Q Okay. (Nodded head affirmatively). I
17       A Yes.                                               17   think what we've just done is describe the job --
18       Q -- for sale of the assets?                         18       A Yes.
19       A Yes.                                               19       Q -- of a sale advisor.
20       Q And were you successful in obtaining any           20          MR. GURFEIN: Off the record for a second.
21   offers?                                                  21          (Off-the-record discussion)
22       A Yes.                                               22   BY MR. GURFEIN:
23       Q And, in fact, the purpose of everything            23       Q Back on the record. Are you aware that on
24   you've described was to lead to an offer in the hope     24   or about June 16th, 2016, the company filed a motion
25   of it leading to a sale; would that be fair to say?      25   relating to the sale of certain artifacts known as

                                                                                                     6 (Pages 18 - 21)
                                            Veritext Legal Solutions
800-726-7007                                                                                             305-376-8800
      Case 3:16-bk-02230-PMG                Doc 1170           Filed 08/27/18       Page 32 of 99


                                                     Page 70                                                      Page 72
 1   company?                                                   1       A Well, Gilbert and Bill have 16 percent,
 2       A Yes.                                                 2   and Gio is essentially representing 45 percent. If
 3       Q And how many of those conversations did              3   not 30 percent of the company. So if one was to
 4   you have, approximately?                                   4   make an offer, the another needed to accept the
 5       A I don't know.                                        5   offer. So they needed to understand what was going
 6       Q During what period of time did you have              6   on together.
 7   those discussions?                                         7       Q And did you suggest they get together to
 8       A During the period of time here.                      8   talk?
 9       Q That I described?                                    9       A Yes.
10       A (Witness nodded head affirmatively.)                10       Q And how did that conversation come about?
11       Q And directing your attention just to --             11   Who were you talking to?
12   strike that.                                              12       A I don't know, one of Gilbert or Gio, both.
13          How early in that period, from January to          13   (Witness shrugs).
14   March 9, did you first talk to these parties as the       14       Q Was this after you received the January
15   stalking horse group?                                     15   term sheet, Exhibit 11?
16       A I don't recall.                                     16       A I don't recall.
17       Q Do you have any records that would refresh          17       Q Well, the -- it was on or about January 11
18   your recollection as to when those conversations          18   that -- let me see -- it was on --
19   took place?                                               19       A It was after this, if that's what
20       A No. Um, it -- I'm trying to think when              20   you're --
21   did we have the mediate -- about the mediation. I         21       Q There's an --
22   think that they were, um, shown together, so it must      22       A -- referring to.
23   have been before the mediation.                           23       Q -- there's an Exhibit that -- in which you
24       Q Do you know how long before the mediation           24   transferred to them a list of creditors -- of
25   they joined together?                                     25   stockholders?
                                                     Page 71                                                      Page 73
 1       A Well, I don't know. You provided an             1           A Right, so it was after that, for sure,
 2   e-mail here that says that they were -- that Gilbert  2        after January 10th.
 3   and Gio were meeting on the 23rd --                   3           Q It was a January 10th --
 4       Q You are referring to --                         4           A Yeah.
 5       A -- the meeting, so it must have been            5           Q So it was sometime after January 10?
 6   before that.                                          6           A Correct.
 7       Q So sometime before February 23rd?               7           Q But before --
 8       A Yeah -- well, yeah, if they were meeting        8           A February twenty --
 9   in Chicago.                                           9           Q -- third?
10       Q Do you know how -- and when you say Gio,       10           A -- third; correct.
11   you're referring to Giovanni Wong?                   11           Q And who were you talking to when you
12       A Correct.                                       12        suggested that the equity holders from the ad hoc
13       Q Okay. Do you know when Gio met Apollo and 13             group and the PacBridge group get together?
14   Alta for the first time?                             14           A Both of them.
15       A Must have been in February.                    15           Q "Them" being Gilbert Li --
16       Q And do you know --                             16           A Yeah.
17       A I think February.                              17           Q -- and Giovanni Wong?
18       Q -- do you know how they were introduced?       18           A Correct.
19       A Yeah, yeah, yeah, I introduced the two of      19           Q Were they together in a room at the time?
20   them.                                                20           A No.
21       Q And how did that come about?                   21           Q Well, how did you make the introduction?
22       A In understanding who owns the company and      22           A Um, I -- I think I provided the contact
23   who was a key representative for the company, I --   23        information.
24   it made sense to bring them together.                24           Q To whom did you --
25       Q What do you mean by that?                      25           A I don't know which one I provided first.
                                                                                                    19 (Pages 70 - 73)
                                             Veritext Legal Solutions
800-726-7007                                                                                             305-376-8800
      Case 3:16-bk-02230-PMG                 Doc 1170           Filed 08/27/18       Page 33 of 99


                                                      Page 74                                                      Page 76
 1       Q (Nodded head affirmatively). But this was             1      A To have --
 2   after you had already received the term sheet from          2      Q -- that they --
 3   Alta and Apollo that's Exhibit 11?                          3      A -- a transaction occur.
 4       A That's -- I don't know when I received                4      Q Please let me finish the question. Was it
 5   this. So I'm not sure.                                      5   your intention in putting Giovanni Wong and Gilbert
 6          MR. GURFEIN: Have we already left a space            6   Li together that they and their representative
 7   in the record for that date when he received it? I          7   groups make a joint offer for the company?
 8   think we have.                                              8      A Yes.
 9          MS. HOMER: Yes.                                      9      Q Were you at all concerned about putting
10          (Off-the-record discussion)                         10   PacBridge in touch with a potentially competing
11   BY MR. GURFEIN:                                            11   bidder when you made that introduction?
12       Q And the purpose of your introducing the              12      A No.
13   two, Giovanni Wong and PacBridge Group and Alta and        13      Q And why is that?
14   Apollo was what?                                           14      A I felt that they both had blocking
15       A To come to a transaction.                            15   positions, and that they -- blocking positions to a
16       Q Jointly?                                             16   transaction. And getting them on the same page
17       A Or separately. Either way.                           17   would effect a transaction faster.
18       Q Well, what would the purpose be of                   18      Q And what do you mean by blocking
19   introducing them to do separate transactions?              19   positions?
20       A I don't know if -- I don't -- I can't -- I           20      A They could both object to each other's
21   couldn't predict the future.                               21   offer.
22       Q How was this introduction made? Was it in            22      Q In what capacity do you mean they could
23   person, by telephone, by e-mail?                           23   object to it?
24       A I -- I don't recall.                                 24      A As equity holders who would have to vote
25       Q Did someone ask you to make an                       25   on this transaction.
                                                      Page 75                                                      Page 77
 1   introduction?                                               1       Q Whose idea was it to put the two groups
 2       A It was discussed.                                     2   together, PacBridge group and the ad hoc equity
 3       Q What does that mean, it was discussed?                3   group?
 4       A It was discussed. I don't recall the                  4       A I don't recall.
 5   exact components of the discussion --                       5       Q Well, I'm trying to understand the genesis
 6       Q And who --                                            6   of the conversation that led to the introduction.
 7       A -- but it was discussed.                              7   How did this come about?
 8       Q -- was in that discussion?                            8       A I don't recall.
 9       A Gilbert and myself, and Gio and myself.               9       Q Well, you referred to it as being an
10       Q Well, was it Gio and yourself, or Gilbert            10   iterative process. What does that mean?
11   and yourself?                                              11       A Just in discussions, amongst these parties
12       A Both. Like I said before, this was an                12   and, you know, whether Gio was asking whether he
13   iterative discussion that was going on, me and Gio,        13   could partner with them or Gilbert was asking
14   me and Gilbert, and understanding what they could          14   whether he could partner with them.
15   do.                                                        15       Q So either Gio asked you if PacBridge could
16       Q What do you mean by what they could do?              16   partner with the ad hoc group, or the ad hoc group
17       A How they could potentially put together an           17   was asking you if they could partner with Gio?
18   offer to purchase the company.                             18       A If they could talk and figure out if
19       Q So it was your intention in putting them             19   they -- if they could do something together, or it
20   together that they make a joint offer for the              20   was discussion amongst -- at the same time,
21   company?                                                   21   discussion amongst my team, whether we -- whether we
22       A It was my intention --                               22   felt like that would give us the best chance at
23       Q That's a yes or no question. Was it your             23   having a transaction, or discussion amongst myself
24   intention in putting Gilbert Li and Giovanni Wong          24   and counsel.
25   together --                                                25       Q Were all of these conversations by

                                                                                                     20 (Pages 74 - 77)
                                              Veritext Legal Solutions
800-726-7007                                                                                              305-376-8800
      Case 3:16-bk-02230-PMG                Doc 1170           Filed 08/27/18       Page 34 of 99


                                                     Page 78                                                      Page 80
 1   telephone?                                                 1      Q Were there any additional term sheets,
 2       A (Witness shrugs), I don't -- I don't know.           2   proposals, or offers provided to you by the ad hoc
 3       Q Were some of these conversations by                  3   equity group between the time you received January
 4   telephone?                                                 4   term sheet, Exhibit 11, and the time you received
 5       A Sure -- yeah.                                        5   the March 9 term sheet, Exhibit 12?
 6       Q And were some of these conversations in              6      A I don't believe so.
 7   person?                                                    7      Q Using March 9 as a reference point --
 8       A Potentially.                                         8   actually, correct me if I'm wrong, but at the
 9       Q I don't know what that means,                        9   mediation, February 27th, PacBridge Group and the
10   "potentially."                                            10   ad hoc equity group had already gotten together to
11       A Well, I don't know if I was sitting in a            11   make a combined offer, even if they hadn't made it
12   room with counsel discussing it or not. I don't --        12   yet; is that correct?
13       Q And did you confer with counsel about               13      A Yes, they were at the mediation together.
14   putting the two groups together?                          14      Q Okay.
15       A Yes.                                                15      A They were.
16       Q And what -- what -- who was that you spoke          16      Q So let's use that as our -- as our collar.
17   to?                                                       17   From the time you received the January term sheet,
18       A I think at that point it was Mr. Cavender,          18   Exhibit 11, and the date of the mediation.
19   it was before --                                          19      A Okay.
20       Q And what did he say about that?                     20      Q That's the time frame we're focused on.
21       A He thought that was a good idea, supported          21          MS. FELDSHER: Can you read that back?
22   it.                                                       22   What was the time period? I apologize for
23       Q Were any of these communications -- and             23   interrupting.
24   I'm limiting it to this iterative process of you and      24          (Off-the-record discussion)
25   Gio and Gilbert. Were any of these by e-mail?             25   (Thereupon, the court reporter read as follows:
                                                     Page 79                                                      Page 81
 1       A I don't -- I don't know.                             1            "Question: So let's use that as our --
 2       Q I did not see any e-mails with you and               2   as our collar. From the time you received the
 3   Gilbert and Gio prior to March 9, 2018. So I'll ask        3   January term sheet, Exhibit 11, and the date of the
 4   if you could double-check the document production          4   mediation. That's the time frame we're focused
 5   demand and see if you have any e-mails either              5   on.")
 6   between you and Gio, or you and Gilbert Li, or among       6   BY MR. GURFEIN:
 7   you and Gio and Gilbert Li during the period               7      Q Did you have any in-person joint meetings
 8   January 10 to March 9.                                     8   with the ad hoc equity group and the PacBridge Group
 9       A So are you saying that there were no                 9   during that time frame, concerning a sale
10   e-mails between me and Gilbert in that time period?       10   transaction?
11       Q With respect to -- thank you for asking             11      A I'd have to check my calendar.
12   for clarification. E-mails between you and Gilbert        12      Q Well, just so I understand, I'm not asking
13   with respect to partnering with anyone in the             13   for a date --
14   PacBridge group, or between you and Gio about             14      A Yeah. I need to check my calendar.
15   partnering with the ad hoc equity group --                15      Q -- I'm just asking --
16       A Okay.                                               16      A I can't recall every attendee of every
17       Q -- or among you and Gio and Gilbert about           17   meeting.
18   partnering with the ad hoc equity group and               18      Q I'm not asking you for attendees. I'm
19   PacBridge.                                                19   asking whether you attended a meeting involving a
20       A We can sure -- we can double-check that.            20   combined group --
21       Q Directing your attention to the                     21      A Right. That's what I'm --
22   Exhibit 12, was this the first proposal you               22      Q -- of PacBridge --
23   received -- that the company received from this           23      A -- saying.
24   stalking horse group?                                     24      Q -- and equity group.
25       A Yes.                                                25      A I have -- I'm thinking about the meetings

                                                                                                    21 (Pages 78 - 81)
                                              Veritext Legal Solutions
800-726-7007                                                                                             305-376-8800
      Case 3:16-bk-02230-PMG               Doc 1170           Filed 08/27/18     Page 35 of 99


                                                    Page 82                                                 Page 84
 1   that were occurring in this time frame that you're        1   BY MR. GURFEIN:
 2   talking about, so I have to check my calendar to          2       Q Okay. Were you directed by anyone not to
 3   recall who was there.                                     3   send a copy of Exhibit 11 to either of the
 4       Q I'll leave the space in the --                      4   committees?
 5       A Fine.                                               5       A Trying to remember.
 6       Q -- in the record then for you to --                 6          MS. HOMER: If you don't know --
 7       A You already requested that, I think.                7       A I don't -- I don't recall. I don't know.
 8       Q -- leave the dates of all either telephone          8   I don't recall.
 9   calls or meetings with a combined group of anyone         9   BY MR. GURFEIN:
10   from the PacBridge group and --                          10       Q But you did not send a copy of the term
11       A That's fine.                                       11   sheet?
12       Q -- anyone from the ad hoc equity group.            12       A I don't recall.
13       A That's fine.                                       13       Q You don't recall whether you sent a copy
14          MR. BROOKS: For what purpose? I'm just            14   of the term sheet?
15   trying to be clear about what the question is. I'm       15       A Exhibit 11?
16   confused.                                                16       Q Exhibit 11.
17          MR. GURFEIN: Sure.                                17       A Which one is that? Is that this one?
18          MR. BROOKS: I'm not sure if the                   18       Q Yes, Exhibit 11.
19   witness --                                               19       A Yeah. I don't recall.
20   BY MR. GURFEIN:                                          20       Q You don't recall whether you sent it or
21       Q During the time frame we're talking about,         21   not?
22   the time of receipt of the January term sheet,           22       A No.
23   Exhibit 11, and the date of the mediation of             23          MS. HOMER: Let's go off the record for a
24   February 27th, did you have any meetings to discuss      24   second.
25   a sale transaction with a combined group of the          25          MR. GURFEIN: Yeah.
                                                    Page 83                                                 Page 85
 1   ad hoc equity group and the PacBridge Group?          1              (Off-the-record discussion)
 2       A I have to check and see.                        2              THE WITNESS: It was my practice to
 3       Q Without knowing the specific dates, do you      3       generally do it.
 4   recall whether you had any meetings during that time  4              MS. HOMER: And that's what you testified
 5   frame?                                                5       already.
 6          MS. HOMER: He already answered that            6       BY MR. GURFEIN:
 7   question. He said he would have to check his          7          Q Well, I will -- I will preface this
 8   calendar.                                             8       question by stating that neither you, nor anyone
 9   BY MR. GURFEIN:                                       9       working with the Debtor forwarded a copy of
10       Q So you have no recollection as you're          10       Exhibit 11 to the equity committee.
11   sitting here today, if, during that six-week time    11              Do you have any understanding as to why
12   frame, you had any meetings with the combined group 12        that would not have been forwarded to the equity
13   on the sale, any meetings at all?                    13       committee?
14       A I --                                           14          A It was no dollars and cents to this.
15          MS. HOMER: It's okay if you don't recall.     15       There was no financial components of this.
16          THE WITNESS: Did I answer the question?       16          Q Well, I will represent to you that there
17          MR. BROOKS: He said he doesn't know.          17       were several term sheets similarly missing key
18          THE WITNESS: Okay. Have I answered the        18       elements that were forwarded to the equity
19   question or not?                                     19       committee.
20          MS. HOMER: You said --                        20          A Okay.
21          THE WITNESS: I thought that answered the      21              MR. BROOKS: Is that a question?
22   question.                                            22              THE WITNESS: I don't know what you're --
23          MS. HOMER: You did.                           23       BY MR. GURFEIN:
24          THE WITNESS: Okay. Thank you.                 24          Q I haven't asked the question yet. Knowing
25                                                        25       that there were several term sheets missing key
                                                                                               22 (Pages 82 - 85)
                                             Veritext Legal Solutions
800-726-7007                                                                                       305-376-8800
      Case 3:16-bk-02230-PMG                Doc 1170           Filed 08/27/18        Page 36 of 99


                                                     Page 90                                                        Page 92
 1          (Off-the-record discussion with counsel)            1       Q -- ability? None? And that's PacBridge's
 2      A I believe I've answered that question.                2   ability to have the financial wherewithal to close a
 3   BY MR. GURFEIN:                                            3   transaction to acquire the company?
 4      Q So nobody responded to the ad hoc group?              4       A Well, we require equity commitment letters
 5      A I believe I've answered the question.                 5   from all three of them to prove it out.
 6      Q And what was your answer?                             6       Q And you received those?
 7      A My answer was, the response was we need               7       A Correct.
 8   financial terms to discuss this further.                   8       Q And now PacBridge had made a couple of
 9      Q Did you get financial terms back from the             9   offers in term sheets prior to that. Had you done
10   ad hoc group?                                             10   financial due diligence on PacBridge for the prior
11      A As a part of the stalking horse purchaser,           11   offers they made?
12   this was their response.                                  12       A We were, uh --
13      Q Exhibit 12?                                          13          MR. BROOKS: I'm going to object to the
14      A That's correct.                                      14   scope. It's outside the request for this
15      Q (Nodded head affirmatively.) By the way,             15   deposition.
16   how was that response given to the ad hoc group,          16          MR. GURFEIN: All right.
17   that they needed to provide financial terms?              17       A Our ability to begin those discussions was
18      A I don't recall.                                      18   short-cutted -- short-circuited, I would say.
19      Q Did you provide that response to them?               19   BY MR. GURFEIN:
20      A It was -- like I said, I -- I don't                  20       Q Mr. Glade, the question is --
21   exactly recall whether this was provided from             21       A By the time --
22   counsel to counsel, or whether it was provided to me      22       Q -- did you -- did you have financial
23   directly. So I'm not sure if the response was from        23   questions about the financial capability of
24   counsel to counsel or from me directly.                   24   PacBridge to satisfy its obligations under either of
25      Q And as you sit here, you have no                     25   its other two proposals?
                                                     Page 91                                                        Page 93
 1   recollection of talking to either Gilbert Li or Bill       1       A Say -- say the question again. I want to
 2   Schwartz about Exhibit 11?                                 2   clarify.
 3       A I'm not -- I'm -- if I did, that's what I            3       Q Did you have any questions about the
 4   would have said, that's what was discussed.                4   financial wherewithal of PacBridge to close either
 5       Q Now, we talked about the list of potential           5   of the other transactions that they had submitted to
 6   bidders earlier, the schedule. It was, uh                  6   the company?
 7   Exhibit 5.                                                 7           MR. BROOKS: I'm going to object again.
 8          (Off-the-record discussion)                         8   Let's move on here.
 9   BY MR. GURFEIN:                                            9           THE WITNESS: Do I have to answer?
10       Q Exhibit 5. And we talked about the                  10           MR. BROOKS: You don't need to answer.
11   financial capability of the companies or targets on       11   It's outside the scope of this deposition.
12   that schedule.                                            12           MR. GURFEIN: It's not your client.
13          Did you have any concerns about the                13           MS. HOMER: You don't --
14   ability of Apollo to have the financial wherewithal       14           MR. BROOKS: I'm a party.
15   to satisfy their financial commitment in acquiring        15           MR. GURFEIN: It's not your client.
16   the company?                                              16           MS. HOMER: You can either -- he's
17       A No.                                                 17   answered the question. You can either read it back,
18       Q Did you have any concerns about Alta                18   you can repeat it, or you can just move on.
19   Fundamentals' financial capabilities?                     19   BY MR. GURFEIN:
20       A (Witness shook head negatively,) no.                20       Q All right. I'll -- I'll take it that you
21       Q No?                                                 21   had no questions as to their financial capacity to
22       A No.                                                 22   fulfill --
23       Q Did you have any questions about                    23       A I would --
24   PacBridge --                                              24       Q -- their offers.
25       A No.                                                 25       A I would have done -- had we been able to

                                                                                                      24 (Pages 90 - 93)
                                             Veritext Legal Solutions
800-726-7007                                                                                               305-376-8800
      Case 3:16-bk-02230-PMG                              Doc 1170        Filed 08/27/18            Page 37 of 99


                                                               Page 106                                                             Page 108
 1 - Password-Protected Access: Transcripts and                            1   To: Ilyse Homer
     exhibits relating to this proceeding will be                          2   Re: Signature of Deponent MARSHALL GLADE
                                                                           3   Date Errata due back at our offices:
 2 uploaded to a password-protected repository, to                         4
     which all ordering parties will have access.                          5 Greetings:
 3                                                                         6 This deposition has been requested for read and sign
 4                                                                           by the deponent. It is the deponent's
 5                                                                         7 responsibility to review the transcript, noting any
                                                                             changes or corrections on the attached PDF Errata.
 6
                                                                           8 The deponent may fill out the Errata electronically
 7                                                                           or print and fill out manually.
 8                                                                         9
 9                                                                        10 Once the Errata is signed by the deponent and
10                                                                           notarized, please mail it to the offices of Veritext
11                                                                        11 (below).
                                                                          12 When the signed Errata is returned to us, we will
12                                                                           seal and forward to the taking attorney to file with
13                                                                        13 the original transcript. We will also send copies
14                                                                           of the Errata to all ordering parties.
15                                                                        14
16                                                                        15 If the signed Errata is not returned within the time
                                                                             above, the original transcript may be filed with the
17
                                                                          16 court without the signature of the deponent.
18                                                                        17
19                                                                        18 Please send completed Errata to:
20                                                                        19 Veritext Production Facility
21                                                                        20 11539 Park Woods Circle, Suite 302
                                                                          21 Alpharetta, GA 30005
22
                                                                          22 (770) 343-9696
23                                                                        23
24                                                                        24
25                                                                        25

                                                               Page 107                                                          Page 109
 1               CERTIFICATE                                               1 ERRATA for ASSIGNMENT #2996119
 2 STATE OF GEORGIA:
                                                                           2 I, the undersigned, do hereby certify that I have
   COUNTY OF FULTON:
 3                                                                           read the transcript of my testimony, and that
 4        I hereby certify that the foregoing                              3
   transcript was taken down, as stated in the caption,                    4 ___ There are no changes noted.
 5 and the colloquies, questions, and answers were                         5 ___ The following changes are noted:
   reduced to typewriting under my direction; that the
 6 transcript is a true and correct record of the
                                                                           6
   evidence given upon said proceeding.                                      Pursuant to Rule 30(7)(e) of the Federal Rules of
 7        I further certify that I am not a relative                       7 Civil Procedure and/or OCGA 9-11-30(e), any changes
   or employee or attorney of any party, nor am I                            in form or substance which you desire to make to
 8 financially interested in the outcome of this
                                                                           8 your testimony shall be entered upon the deposition
   action.
 9        I have no relationship of interest in this                         with a statement of the reasons given for making
   matter which would disqualify me from maintaining my                    9 them. To assist you in making any such corrections,
10 obligation of impartiality in compliance with the                         please use the form below. If additional pages are
   Code of Professional Ethics.
                                                                          10 necessary, please furnish same and attach.
11        I have no direct contract with any party
   in this action and my compensation is based solely                     11 Page _____ Line ______ Change_______________________
12 on the terms of my subcontractor agreement.                            12 ___________________________________________________
          Nothing in the arrangements made for this                       13 Reason for change___________________________________
13 proceeding impacts my absolute commitment to serve                     14 Page _____ Line ______ Change_______________________
   all parties as an impartial officer of the court.
14                                                                        15 ____________________________________________________
15        This the 26th day of August, 2018.                              16 Reason for change___________________________________
16                                                                        17 Page _____ Line ______ Change_______________________
17        <%13618,Signature%>                                             18 ____________________________________________________
          ________________________________
18        CAROLYN J. SMITH, RMR, CCR-A-1361
                                                                          19 Reason for change___________________________________
19                                                                        20 Page _____ Line ______ Change_______________________
20                                                                        21 ____________________________________________________
21                                                                        22 Reason for change___________________________________
22
                                                                          23 Page _____ Line ______ Change_______________________
23
24                                                                        24 ____________________________________________________
25                                                                        25 Reason for change___________________________________

                                                                                                                    28 (Pages 106 - 109)
                                                          Veritext Legal Solutions
800-726-7007                                                                                                                  305-376-8800
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 38 of 99




              Exhibit B
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 39 of 99
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 40 of 99




              Exhibit C
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                           Case 3:16-bk-02230-PMG                   Doc 1170          Filed 08/27/18          Page 41 of 99

          SC 13D 1 v424531_sc13d.htm FORM SC 13D

                                                                                                                          OMB APPROVAL
                                                                                                                  OMB Number: 3235-0145
                                                              UNITED STATES                                       Expires:    February 28, 2009
                                                  SECURITIES AND EXCHANGE COMMISSION                              Estimated average burden hours
                                                           Washington, D.C. 20549                                 per response……..14.5

                                                                   SCHEDULE 13D
                                                       Under the Securities Exchange Act of 1934
                                                            (Amendment No. _________)*

                                                                 Premier Exhibitions, Inc.
                                                                     (Name of Issuer)


                                                                       Common Stock
                                                                (Title of Class of Securities)


                                                                       74051E102
                                                                     (CUSIP Number)


                                                                     Daoping Bao
                                                             C/O Premier Exhibitions, Inc.
                                                           3340 Peachtree Road NE, Suite 900
                                                                  Atlanta, GA 30326
                                                                    (404) 842-2600

                                                                          Copy to:

                                                               Samuel C. Schlessinger
                                                                  Dentons US LLP
                                                                    Willis Tower
                                                          233 S. Wacker Drive, Suite 5900
                                                                 Chicago, IL 60606
                                                                   (312) 876-8000
                                             (Name, Address and Telephone Number of Person Authorized to
                                                        Receive Notices and Communications)


                                                                   October 30, 2015
                                                 (Date of Event which Requires Filing of this Statement)


                 If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this
                 Schedule 13D, and is filing this schedule because of §§240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the
                 following box. ¨

                 Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all
                 exhibits. See §240.13d-7 for other parties to whom copies are to be sent.

                 * The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to
                 the subject class of securities, and for any subsequent amendment containing information which would alter
                 disclosures provided in a prior cover page.

                 The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of
                 Section 18 of the Securities Exchange Act of 1934 (“Act”) or otherwise subject to the liabilities of that section of the
                 Act but shall be subject to all other provisions of the Act (however, see the Notes).




1 of 42                                                                                                                                        1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18          Page 42 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Daoping Bao
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) OO
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               Canada
                               7. Sole Voting Power 4,448,113
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 1,271,994
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 4,448,113
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) X1

           13. Percent of Class Represented by Amount in Row (11) 47.5%2
           14. Type of Reporting Person (See Instructions)
               IN


          1 At the Closing (as defined herein), Mr. Bao received (a) 1,271,994 shares (“Exchangeable Shares”) of 1032403 B.C. Ltd., a company
          existing under the laws at the Province of British Columbia and a wholly-owned subsidiary of the Issuer (“Exchangeco”), which are
          exchangeable for 1,271,994 shares of common stock, par value $0.0001 per share, of the Issuer (“Issuer Common Stock”) pursuant to
          the terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the Closing, and (b) one
          share of a separate class of stock of the Issuer (the “Class 1 Special Voting Stock”) that provides for voting rights in the Issuer equal to
          the number of Exchangeable Shares held by Mr. Bao. The amount reported in Row 11 excludes the share of Class 1 Special Voting Stock
          held by Mr. Bao. The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the
          Stockholders Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




2 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18         Page 43 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Nancy Brenner
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) OO
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               United States
                               7. Sole Voting Power 0
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 162,726
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 162,726
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) X1

           13. Percent of Class Represented by Amount in Row (11) 1.7%2
           14. Type of Reporting Person (See Instructions)
               IN


          1 At the Closing, Ms. Brenner received (a) 162,726 Exchangeable Shares, which are exchangeable for 162,726 shares of Issuer Common
          Stock pursuant to the terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the
          Closing, and (b) one share of a separate class of stock of the Issuer (the “Class 2 Special Voting Stock”) that provides for voting rights
          in the Issuer equal to the number of Exchangeable Shares held by Ms. Brenner. The amount reported in Row 11 excludes the share of
          Class 2 Special Voting Stock held by Ms. Brenner. The reporting person disclaims beneficial ownership of the shares beneficially owned
          by the other parties to the Stockholders Agreement (as defined herein) except to the extent of her pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




3 of 42                                                                                                                                   1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18       Page 44 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Lange Feng
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               China
                               7. Sole Voting Power 0
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 669,643
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 669,643
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) 1

           13. Percent of Class Represented by Amount in Row (11) 7.2% 2
           14. Type of Reporting Person (See Instructions)
               IN


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




4 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18       Page 45 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Jihe Zhang
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions)     PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               China
                               7. Sole Voting Power 0
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 446,429
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 446,429 1
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 4.8% 2
           14. Type of Reporting Person (See Instructions)
               IN


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




5 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18       Page 46 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               High Nature Holding Limited
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               British Virgin Islands
                               7. Sole Voting Power 0
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 1,116,071
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 1,116,071 1
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 11.9% 2
           14. Type of Reporting Person (See Instructions)
               CO


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of its pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




6 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18       Page 47 of 99



           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Mandra Forestry Limited
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) 1
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               British Virgin Islands
                               7. Sole Voting Power 0
          Number of Shares
          Beneficially by      8. Shared Voting Power 0
          Owned by Each
          Reporting Person     9. Sole Dispositive Power 781,250
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 781,250 2
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 8.3% 3
           14. Type of Reporting Person (See Instructions)
               CO


          1 We have requested on numerous occasions but not received confirmation from Mandra Forestry Limited.


          2 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of its pecuniary interest therein.

          3 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




7 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                            Case 3:16-bk-02230-PMG                 Doc 1170           Filed 08/27/18       Page 48 of 99



          Item 1. Security and Issuer

                   This statement on Schedule 13D (“Schedule 13D”) relates to the shares of common stock, par value $0.0001 per share (“Issuer
          Common Stock”), of Premier Exhibitions, Inc., a Florida corporation, (the “Company” or the “Issuer”), as well as shares of 1032403
          B.C. Ltd., a wholly-owned subsidiary of the Issuer (“Exchangeco”), which are exchangeable for Issuer Common Stock pursuant to the
          terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the Closing (as defined
          herein). The address of the principal executive office of the Issuer is 3340 Peachtree Road N.E., Suite 900, Atlanta, Georgia 30326.

          Item 2. Identity and Background

                  This Schedule 13D is being filed jointly by the following persons (collectively, the “Reporting Persons”):

           Name                                     Address                             Employment/Address                Citizenship
           Daoping Bao                              C/O Premier Exhibitions, Inc.,      Exec. Chairman, Pres. and         Canada
                                                    3340 Peachtree Road NE, Suite       CEO
                                                    900
                                                    Atlanta, GA 30326                   Premier Exhibitions, Inc.
                                                                                        3340 Peachtree Rd. N.E. Ste.
                                                                                        900
                                                                                        Atlanta, GA 30326
                                                                                        United States

           Nancy Brenner                            1828 Lilac Drive., #18              Managing Director                 United States
                                                    Surrey, British Columbia V4A        Premier Exhibitions, Inc.
                                                    5C9                                 3340 Peachtree Rd. N.E,. Ste.
                                                    Canada                              900
                                                                                        Atlanta, GA 30326

           Lange Feng                               15953 107 Avenue                    Chief Financial Officer           China
                                                    Surrey, British Columbia V4N        Henan Yixue Waterproofing
                                                    5N7                                 Engineering Co., Ltd.
                                                    Canada                              901, Unit 1, Building 1,
                                                                                        Zhenghongqi, No. 260
                                                                                        Dongming Road North,
                                                                                        Agricultural Road, Jinshui
                                                                                        District,
                                                                                        Zhenrgzhou City,
                                                                                        Henan Province,
                                                                                        China

           Jihe Zhang                               Suite 2606, Building A              Chairman of Beijing AO Jie        China
                                                    Full Shuangzi Towers,               Kai Industry & Trading Co.,
                                                    No. 59 Dongsanhuan Zhonglu          LTD
                                                    Chaoyang District, Beijing          Room 2606 Fuli Twins Tower
                                                    China                               A Building No. 59
                                                                                        Mid East 3rd Ring Road
                                                                                        China

           Name                                     Address                             Principal Business                Organization
           High Nature Holding Limited              Unit 8, 3rd Floor                   Biorefineries                     British Virgin Islands
                                                    Qwomar Trading Complex
                                                    Blackburne Road
                                                    Port Purcell, Road Town
                                                    Tortola, British Virgin Islands
                                                    VG1110




8 of 42                                                                                                                                 1/26/2018, 5:06 PM
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                            Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18        Page 49 of 99
           Mandra Forestry Limited                   C/O Portcullis TrustNet (BVI)      Investment Holding Company        British Virgin Islands
                                                     Ltd.
                                                     Portcullis TrustNet Chambers
                                                     P.O. Box 3444
                                                     Road Town, Tortola
                                                     British Virgin Islands


          The name, residence or business address, and present principal occupation or employment of each director, executive officer and
          controlling person of High Nature Holding Limited and Mandra Forestry Limited are listed on Schedule I to this Schedule 13D.




9 of 42                                                                                                                                1/26/2018, 5:06 PM
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18          Page 50 of 99



                   Information in this Schedule 13D with respect to each of the Reporting Persons is given solely by such Reporting Person, and
           no Reporting Person assumes responsibility for the accuracy or completeness of information provided by another Reporting Person.

                     During the past five years, none of the Reporting Persons (or, to the knowledge of the Reporting Persons, any of the persons
           listed on Schedule I hereto) (i) has been convicted in any criminal proceeding (excluding traffic violations or similar misdemeanors) or
           (ii) was a party to a civil proceeding of a judicial or administrative body of competent jurisdiction and as a result of such proceeding was
           or is subject to a judgment, decree or final order enjoining future violations of, or prohibiting or mandating activities subject to, federal
           or state securities laws or finding any violation with respect to such laws. Notwithstanding the foregoing to the contrary, the Reporting
           Persons have requested on multiple occasions but not received confirmation with respect to the matters discussed in this paragraph from
           Mandra Forestry Limited.

           Item 3. Source and Amount of Funds or Other Consideration

                    Pursuant to the merger agreement entered into as of April 2, 2015 by and among the Company, Dinoking Tech Inc.
           (“Dinoking”), Exchangeco, and Mr. Bao and Ms. Brenner (the “Merger Agreement”), on November 1, 2015 (the “Closing”), the
           Company acquired all of the outstanding shares of Dinoking for total consideration of 1,434,720 shares of Exchangeco (“Exchangeable
           Shares”). The Exchangeable Shares are exchangeable for an aggregate of 1,434,720 shares of Issuer Common Stock pursuant to the
           terms of such shares and that certain Support Agreement entered into between the Company and Exchangeco at the Closing. At the
           Closing, Mr. Bao received 1,271,994 Exchangeable Shares and Ms. Brenner received 162,726 Exchangeable Shares, which they can
           exchange on a one-for-one basis into shares of the Issuer’s Common Stock at any time, and Mr. Bao received one share of Class 1
           Special Voting Stock and Ms. Brenner received one share of Class 2 Special Voting Stock, which provides them with voting rights in the
           Company equal to the number of Exchangeable Shares they hold.

                   In connection with the Merger Agreement, the Company also issued a convertible promissory note (the “Convertible Note”) to
           Mr. Bao, as agent for Mr. Lange Feng, Mr. Jihe Zhang, High Nature Holding Limited and Mandra Forestry Limited (the “Former
           Convertible Note Holders”). The Convertible Note automatically converted pursuant to the terms of the Convertible Note into
           3,013,393 shares of Issuer Common Stock on October 30, 2015 (i.e., the first business day after the special meeting at which the
           Company’s shareholders approved certain proposals necessary to consummate the transactions contemplated by the Merger Agreement).

           Item 4. Purpose of Transaction

                    The information set forth or incorporated in Item 3 is incorporated herein by reference.

                    The Reporting Persons intend to review their investment in the Company on an ongoing basis. Depending on their review and
           evaluation of the business and prospects of the Company, and subject to applicable securities laws and the price level of the Issuer
           Common Stock, or such other factors as they may deem relevant, the Reporting Persons may (a) acquire additional shares of Issuer
           Common Stock or other securities of the Company; (b) sell all or any part of their Issuer Common Stock, which potential sales may be
           made pursuant to Rule 144, in privately negotiated transactions or in sales registered or exempt from registration under the Securities Act
           of 1933, as amended (the “Securities Act”) (or, with respect to Mr. Bao and/or Ms. Brenner, subject to their exchange of the
           Exchangeable Shares for Issuer Common Stock, in sales pursuant to a resale registration statement that the Company is required to file
           with the U.S. Securities and Exchange Commission (the “SEC”) within 30 business days after the Closing and cause to be declared
           effective as soon as practicable thereafter under the Registration Rights Agreement (as defined herein); (iii) distribute Issuer Common
           Stock to various of their partners, members or shareholders or may engage in any combination of the foregoing.

                    Subject to applicable law, the Reporting Persons may enter into derivative transactions, hedging transactions or alternative
           structures with respect to the Issuer Common Stock. Any open market or privately negotiated purchases, sales, distributions or other
           transactions may be made at any time without additional prior notice. Any alternative that the Reporting Persons may pursue will depend
           upon a variety of factors, including, without limitation, current and anticipated future trading prices of the Issuer Common Stock, the
           financial condition, results of operations and prospects of the Company, general economic, financial market and industry conditions,
           other investment and business opportunities available to the Reporting Persons, tax considerations and other factors.

                    At the Closing, the Company, Mr. Bao and Ms. Brenner, entered into the Corporate Governance Agreement, dated as of
           November 1, 2015, pursuant to which the Reporting Persons collectively had the right as of the Closing to appoint up to four members of
           the Company’s board of directors, which was then required to be composed of seven members. If their beneficial ownership in the
           Company falls to between 10% and 30%, then the Reporting Persons will have the right to appoint up to 30% of the members of the
           board of directors. If the Reporting Persons beneficially own in the aggregate less than 10% of the Issuer Common Stock, then they will
           no longer be entitled to appoint members of the Company’s board of directors. These board appointment provisions also apply to each
           subsidiary of the Company. The Corporate Governance Agreement also required the Company’s board of directors to appoint Mr. Bao as
           the Executive Chairman of the board of directors and President of the Company, and each subsidiary of the Company, as of the Closing.



10 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                 Doc 1170        Filed 08/27/18         Page 51 of 99
           As a result of the Reporting Persons’ continuous review and evaluation of the business of the Company, the Reporting Persons may
           communicate with the board of directors of the Company, members of management and/or other shareholders from time to time with
           respect to operational, strategic, financial or governance matters or otherwise work with management and the board of directors of the
           Company with a view to maximizing shareholder value.




11 of 42                                                                                                                               1/26/2018, 5:06 PM
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18          Page 52 of 99



                    Other than as described in this Item 4 and the Future Contingent Payments under the Success Payment Agreement section
           described in Item 6 below, none of the Reporting Persons, nor to the knowledge of each Reporting Person, any individuals listed in
           response to Item 2 hereof, has any current plans or proposals that relate to or that would result in any of the transactions or other matters
           specified in clauses (a) though (j) of Item 4 of Schedule 13D; provided, that the Reporting Persons may, at any time, review or reconsider
           their position with respect to the Issuer and reserve the right to develop such plans or proposals.

           Item 5. Interest in Securities of the Issuer

                    The information contained on the cover pages to this Schedule 13D and the information set forth or incorporated in Items 2, 3, 4
           and 6 hereof are incorporated herein by reference.

                    (a) As of the Closing, following the consummation of the transactions contemplated by the Merger Agreement, each Reporting
           Person may be deemed to beneficially own 4,448,113 shares of Issuer Common Stock (excluding one share of Class 1 Special Voting
           Stock and one share of Class 2 Special Voting Stock held by Mr. Bao and Ms. Brenner, respectively, that provide for voting rights in the
           Company equal to the number of Exchangeable Shares held by Mr. Bao and Ms. Brenner, respectively, and including 1,434,720
           Exchangeable Shares, which are exchangeable for Issuer Common Stock) representing approximately 47.5% of the outstanding Issuer
           Common Stock. The calculation of the foregoing percentage is based on the sum of (a) 4,917,222 shares of Issuer Common Stock
           outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
           of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
           Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner. Each Reporting Person disclaims beneficial
           ownership of the shares beneficially owned by the other Reporting Persons except to the extent of his, her or its pecuniary interest
           therein.

                    (b) Pursuant to the Stockholders Agreement described in Item 6 below, Mr. Bao has the right to vote (and a right of first refusal
           with respect to) the Issuer Common Stock and Exchangeable Shares held by the other Reporting Persons. Accordingly, Mr. Bao has the
           sole power to vote or direct the vote of all shares reported by the Reporting Persons on the cover pages to this Schedule 13D. Each
           Reporting Person has the sole power to dispose the number of shares listed in Row 9 of its respective cover page to this Schedule 13D.
           No Reporting Person has shared voting or shared dispositive power with respect to any of the shares reported in this Schedule 13D.

                   (c) Other than the matters referred to herein, there have been no other transactions in the Issuer Common Stock effected by the
           Reporting Persons during the past sixty days.

                    (d) No other person is known to have the right to receive or the power to direct the receipt of dividends from, or any proceeds
           from the sale of, securities of the Issuer beneficially owned by the Reporting Persons.

                    (e) Not applicable.

           Item 6. Contracts, Arrangements, Understandings or Relationships with Respect to Securities of the Issuer

           The information set forth or incorporated in Items 3 and 4 is incorporated herein by reference.

           Stockholders Agreement

                  Pursuant to that certain Stockholders Agreement, dated April 2, 2015, among the Reporting Persons (as amended, the
           “Stockholders Agreement”), Mr. Bao has the power to vote (and a right of first refusal with respect to) each of the shares in the
           Company beneficially owned by the other Reporting Persons.

           Corporate Governance Agreement

                    See the description in Item 4 hereof.




12 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18         Page 53 of 99



           Support Agreement

                   The Company and Exchangeco also entered at the Closing into that certain Support Agreement, which sets forth terms related to
           the Exchangeable Shares and contains certain covenants governing the relationship between the Company and Exchangeco so long as
           Exchangeable Shares are outstanding.

                     Among other things, pursuant to the Support Agreement, the Company will not, without the prior approval of Exchangeco and
           the holders of the Exchangeable Shares, take certain actions unless the same or an economically equivalent change shall simultaneously
           be made to, or in the rights of, the holders of Exchangeable Shares. Such actions include (i) issuing or distributing shares of the Issuer
           Common Stock to holders of the common stock by way of stock dividend or other distribution; (ii) issuing or distributing rights, options,
           warrants, or property to holders of the Issuer Common Stock entitling them to subscribe for or to purchase shares of the Issuer Common
           Stock; (iii) issuing or distributing to holders of shares or securities of the Company of any other class of capital stock of the Company or
           any rights, options, or warrants to purchase the same, evidences of indebtedness of the Company, or assets of the Company; (iv)
           subdividing, redividing, or changing the then outstanding shares of the Issuer Common Stock into a greater number of shares; (v)
           reducing, combining, or consolidating or changing the then outstanding shares of the Issuer Common Stock into a lesser number of
           shares; or (vi) reclassifying or otherwise changing the shares of the Issuer Common Stock or effecting an amalgamation, merger,
           reorganization, or other transaction affecting the Issuer Common Stock.

           Registration Rights Agreement

                   In addition, at the Closing, the Company, Mr. Bao and Ms. Brenner entered into that certain Registration Rights Agreement (the
           “Registration Rights Agreement”), pursuant to which the Company is required to register with the SEC the shares of Issuer Common
           Stock held by Mr. Bao and Ms. Brenner and their permitted assigns upon demand at any time after the Closing.

           Success Payment Agreement

                    In connection with the Closing, the Company, Mr. Bao and Ms. Brenner entered into a Success Payment Agreement, dated
           April 2, 2015 (the "Success Payment Agreement"), which outlines the requirements by which Mr. Bao and Ms. Brenner may receive
           Future Contingent Payments (as defined herein).

                     Mr. Bao and Ms. Brenner have the right to receive from the Company future contingent payments payable in either cash or
           shares of Issuer Common Stock (the “Future Contingent Payments”). The Company has agreed to make Future Contingent Payments
           to Mr. Bao and Ms. Brenner of up to $8,562,715 payable in either cash or shares of Issuer Common Stock upon the satisfaction of
           conditions precedent relating to the execution of specified exhibition and joint venture agreements with third-parties meeting the
           requirements set forth in the Success Payment Agreement. Assuming all of the conditions are satisfied that would trigger the three
           separate Future Contingent Payments provided for under the Success Payment Agreement, the Company will be required to issue a
           minimum of 1,309,162 shares of Issuer Common Stock to Mr. Bao and Ms. Brenner. The Reporting Persons, however, are unable to
           provide an exact estimate of the number of shares that the Company may issue in connection with Future Contingent Payments due to
           the fact that certain conditions must be triggered to satisfy such payments and the value of the shares to be paid out will be determined
           based upon a formula that takes into account the volume weighted average trading price of the Company’s common stock during the 60-
           day period prior to the date of the applicable triggering event. The Reporting Persons estimate that if all of the conditions to the Future
           Contingent Payments are satisfied and the Mr. Bao and Ms. Brenner elect to receive shares of Issuer Common Stock as payment for the
           Future Contingent Payments, that the Company would issue up to a maximum of 856,271,455 shares of Issuer Common Stock in
           connection therewith, assuming that the Company’s stock price was $0.01 based on the 60-day volume weighted average price ending
           immediately prior to the date of each of the three separate triggering events.

                   The foregoing summaries of the agreements described above do not purport to be complete and each is qualified in its entirety
           incorporated by reference to the complete text of such agreement attached hereto or incorporated by reference.

           Item 7. Materials to be Filed as Exhibits

           Exhibit Number            Description of Exhibits
                    1.               Joint Filing Agreement and Power of Attorney, dated November 6, 2015, by and among Messrs. Daoping Bao,
                                     Lange Feng and Jihe Zhang, Ms. Nancy Brenner, High Nature Holding Limited and Mandra Forestry Limited.

                     2.              Stockholders Agreement, dated April 2, 2015, by and among Mr. Daoping Bao, Ms. Nancy Brenner, Mr.
                                     Lange Feng, Mr. Jihe Zhang, 1030443 B.C. Ltd. and High Nature Holding Limited, as amended.

                     3.              Joinder Agreement, dated April 2, 2015 by Mandra Forestry Limited.



13 of 42                                                                                                                                    1/26/2018, 5:06 PM
                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                 Case 3:16-bk-02230-PMG              Doc 1170        Filed 08/27/18         Page 54 of 99

           4.        Joinder Agreement, dated April 2, 2015 by Jihe Zhang.

           5.        Merger Agreement, dated April 2, 2015, by and among Premier Exhibitions, Inc., Dinoking Tech Inc.,
                     1032403 B.C. Ltd., Mr. Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 2.1 to
                     Premier Exhibitions, Inc.’s Current Report on Form 8-K filed April 8, 2015).

           6.        Corporate Governance Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc., Mr.
                     Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.1 to Premier Exhibitions, Inc.’s
                     Current Report on Form 8-K filed November 4, 2015).

           7.        Support Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc. and 1032403 B.C. Ltd.
                     (incorporated by reference to Exhibit 10.2 to Premier Exhibitions, Inc.’s Current Report on Form 8-K filed
                     November 4, 2015).

           8.        Registration Rights Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc., Mr.
                     Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.3 to Premier Exhibitions, Inc.’s
                     Current Report on Form 8-K filed November 4, 2015).

           9.        Success Payment Agreement, dated April 2, 2015, by and among Premier Exhibitions, Inc., Mr. Daoping Bao
                     and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.2 to Premier Exhibition, Inc.’s Current Report
                     on Form 8-K filed April 8, 2015).

           10.       Amended and Restated Secured Promissory Note and Guarantee, dated April 2, 2015, by and among Premier
                     Exhibitions, Inc., as obligor, Premier Merchandising, LLC, RMS Titanic, Inc., Premier Exhibition
                     Management LLC and Arts and Exhibitions International, LLC, as obligors, and Mr. Daoping Bao, for and on
                     behalf of the lenders thereunder.




14 of 42                                                                                                                1/26/2018, 5:06 PM
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18        Page 55 of 99




                                                                         Schedule I

           The names of the shareholders of High Nature Holding Limited, their business address and citizenship are set forth below. Each
           occupation set forth opposite an individual’s name refers to Anhui Geyi Biorefineries Industrial Park Ltd.

            Name                               Position      Business Address                                                   Citizenship
            Haiping Zou                        Chairman      Anhui Geyi Biorefineries Industrial Park Ltd.                      China
                                               &             Chuangye Avenue, Yanliu, Shou County, Anhui Province P.R.
                                               President     China
            Xiao Bai                           CFO           Anhui Geyi Biorefineries Industrial Park Ltd.                      China
                                                             Chuangye Avenue, Yanliu, Shou County, Anhui Province P.R.
                                                             China


           The Reporting Persons have requested on multiple occasions but not received the information necessary to complete this Schedule I with
           respect to Mandra Forestry Limited.




15 of 42                                                                                                                                1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18         Page 56 of 99



                                                                        SIGNATURES

                    After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is
           true, complete and correct.

                                                                                  DAOPING BAO

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  HIGH NATURE HOLDING LIMITED

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact, on behalf of
                                                                                          High Nature Holding Limited


                                                                                  JIHE ZHANG

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  LANGE FENG

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  MANDRA FORESTRY LIMITED

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact, on behalf of
                                                                                          Mandra Forestry Limited


                                                                                  NANCY BRENNER

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


           Dated: March 31, 2016




16 of 42                                                                                                                                   1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18          Page 57 of 99



                                                                                                                                            Exhibit 1
                                             JOINT FILING AGREEMENT AND POWER OF ATTORNEY

           Pursuant to and in accordance with the Securities Exchange Act of 1934, as amended (the “Exchange Act”), and the rules and
           regulations promulgated thereunder, each undersigned party hereby agrees to the joint filing, on behalf of such undersigned party with
           respect to the common stock, par value $0.0001 per share, of Premier Exhibitions, Inc. (the “Company”), a Florida corporation, of any
           and all forms, statements, reports, and/or documents required to be filed by such undersigned party under Section 13(d) and/or Section
           16 of the Exchange Act (including any amendments, supplements, and/or exhibits thereto) with the U.S. Securities and Exchange
           Commission (the “SEC”) (and, if such security is registered on a national securities exchange or national securities association, also with
           such exchange or association as may be required by applicable laws, rules and regulations), and each undersigned party further agrees
           that this Joint Filing Agreement and Power of Attorney may be included as an Exhibit to such joint filing.

           Know all by these presents, that the undersigned hereby constitutes and appoints each of Laing Henshall, Catherine Wade, Samuel
           Schlessinger, Emily Yuen, Danielle Moore Burton, Tina Bingham and Brian A. Wainger or any of them acting as the true and lawful
           attorney-in-fact and agent of such undersigned party with full power and authority and full power of substitution and resubstitution, for,
           in the name of, and on behalf of such undersigned party, place and stead, in any and all capacities to:

                              1. execute any and all forms, statements, reports, and/or documents required to be filed by such undersigned party
                    under Section 13(d) and/or Section 16 of the Exchange Act (including any and all amendments, supplements and/or exhibits
                    thereto), for, in the name of, and on behalf of such undersigned party;

                             2. do and perform any and all acts for, in the name of, and on behalf of such undersigned party which said attorney-
                    in-fact determines may be necessary or appropriate to complete and execute any and all such forms, statements, reports, and/or
                    documents, any and all such amendments, supplements, and/or exhibits thereto, and any and all other documents in connection
                    therewith;

                              3.    file such forms, statements, reports, and/or documents, any and all such amendments, supplements, and/or
                    exhibits thereto, and any and all other documents in connection therewith with the SEC (and, if such security is registered on a
                    national securities exchange or national securities association, also with such exchange or association as may be required by
                    applicable laws, rules and regulations); and

                              4. perform any and all other acts that said attorney-in-fact or agents determines may be necessary or appropriate in
                    connection with the foregoing that may be in the best interest of or legally required by such undersigned party, granting unto
                    said attorney-in-fact and agent full power and authority to do and perform each and every act and thing requisite or necessary to
                    be done in and about the premises, as full to all intents and purposes as said attorney-in-fact and agents might or should do in
                    person, hereby ratifying and confirming all that said attorney-in-fact and agent shall do or cause to be done by virtue hereof.




17 of 42                                                                                                                                   1/26/2018, 5:06 PM
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18          Page 58 of 99



           The undersigned hereby grants to each such attorney-in-fact full power and authority to do and perform any and every act and thing
           whatsoever required, necessary or proper to be done in the exercise of any of the rights and powers herein granted, as fully to all intents
           and purposes as the undersigned might or could do if personally present, with full power of substitution or revocation, hereby ratifying
           and confirming all that such attorney-in-fact, or such attorney-in-fact's substitute or substitutes, shall lawfully do or cause to be done by
           virtue of this Joint Filing Agreement and Power of Attorney and the rights and powers herein granted.

           The undersigned acknowledges that the foregoing attorney-in-fact, in serving in such capacity at the request and on the behalf of the
           undersigned, is not assuming, nor is the Company assuming, any of the undersigned's responsibilities to comply with, or any liability for
           the failure to comply with, any provision of Section 16 of the Exchange Act.

           This Joint Filing Agreement and Power of Attorney shall remain in full force and effect until the undersigned is no longer required to file
           such forms, statements, reports, and/or documents in accordance with Section 13(d) and/or Section 16 of the Exchange Act with respect
           to the undersigned's holdings of and transactions in securities issued by the Company, unless earlier revoked by the undersigned in a
           signed writing delivered to the foregoing attorney-in-fact.


                                                               [SIGNATURE PAGE FOLLOWS]




18 of 42                                                                                                                                     1/26/2018, 5:06 PM
                                                                        https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                           Case 3:16-bk-02230-PMG             Doc 1170        Filed 08/27/18         Page 59 of 99



           IN WITNESS WHEREOF, the undersigned has executed this Joint Filing Agreement and Power of Attorney as of this 6th day of
           November, 2015.

                                                                        DAOPING BAO

                                                                        By:      /s/ Daoping Bao


                                                                        HIGH NATURE HOLDING LIMITED

                                                                        By:      /s/ Haiping Zou
                                                                                 Name: Haiping Zou
                                                                                 Title: President


                                                                        JIHE ZHANG

                                                                        By:      /s/ Jihe Zhang


                                                                        LANGE FENG

                                                                        By:      /s/ Lange Feng


                                                                        MANDRA FORESTRY LIMITED

                                                                        By:      /s/ Zhang Songyi
                                                                                 Name: Zhang Songyi
                                                                                 Title: Director


                                                                        NANCY BRENNER

                                                                        By:      /s/ Nancy Brenner




19 of 42                                                                                                                  1/26/2018, 5:06 PM
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                 Doc 1170         Filed 08/27/18         Page 60 of 99



                                                                                                                                        Exhibit 2

                                                           STOCKHOLDERS AGREEMENT

                    This Stockholders Agreement (this “Agreement”), dated as of April 2, 2015, is entered into by Daoping Bao, an individual
           residing in the Province of British Columbia, Canada (“Bao”), Nancy Brenner, an individual residing in the Province of British
           Columbia, Canada (collectively with Bao, the “DK Shareholders”), Lange Feng, an individual residing in the Province of British
           Columbia, Canada), 1030443 B.C. Ltd., a corporation existing under the laws of the Province of British Columbia, and High Nature
           Holding Limited, a corporation existing under laws of the British Virgin Islands (collectively, the “DK Investor Group”) each of which
           is sometimes hereinafter referred to individually as a “Party” and collectively as the “Parties”.

                                                                        RECITALS

                    WHEREAS, the DK Shareholders own all of the share capital in Dinoking Tech Inc. have entered into that certain Merger
           Agreement of even date herewith (the “Merger Agreement”); capitalized terms used but not defined herein shall have the meanings
           ascribed to such terms in the Merger Agreement);

                    WHEREAS, under the Merger Agreement the DK Shareholders have agreed to exchange their shares of Dinoking Tech Inc. for
           a combination of shares of (i) Common Stock, par value US$0.0001 per share (“Common Stock”) of Premier Exhibitions Inc., a Florida
           company (the “Company”), (ii) an indirect ownership represented by shares exchangeable into the Company’s Common Stock
           (“Exchangeable Shares”), and (iii) the right to direct the voting of the Company’s Common Stock represented by newly created special
           voting shares of the Company at a price of US$100 per share (the “Special Voting Shares”, and collectively with the Common Stock
           and Exchangeable Shares, the “Merger Shares”) to be issued on the closing of the transactions under the Merger Agreement,
           representing in the aggregate approximately 24% of the shares of the Company’s Common Stock on a fully diluted basis. The Special
           Voting Shares will have attached thereto voting rights equivalent to the number of the Company’s Common Stock for which the
           Exchangeable Shares received by the DK Shareholders can be exchanged;

                    WHEREAS, the DK Investor Group has entered into an Assignment and Assumption Agreement of even date herewith (the
           “Assignment and Assumption Agreement”) with each of PWCM Master Fund Ltd. and Pentwater Credit Opportunity Fund Ltd. under
           which the DK Investor Group has taken an assignment of the promissory notes issued to them by the Company as replaced by the Note
           (as defined below);

                    WHEREAS, the Company has issued an Amended and Restated Promissory Note of even date herewith (the “Note”) having a
           principal amount of up to US$13.5 million of which US$8 million is outstanding (which amount was owed by the Company under the
           promissory notes assigned to the DK Investor Group under the Assignment and Assumption Agreement) and under which the DK
           Investor Group has agreed to advance up to an additional US$5.5 million to the Company, under specified conditions;




20 of 42                                                                                                                                1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18         Page 61 of 99



                   WHEREAS, the Note automatically converts into Common Stock of the Company upon the completion of the transaction
           contemplated by the Merger Agreement;

                   WHEREAS, immediately following the consummation of the transactions contemplated by the Merger Agreement, the DK
           Shareholders will own, directly or indirectly, and have direct or indirect ownership and voting rights to shares of the Company’s
           Common Stock (including through the holding of Exchangeable Shares together with the Special Voting Shares) representing
           approximately 24% of shares of the Company’s Common Stock on a fully diluted basis;

                     WHEREAS, the DK Shareholders may also receive an additional ownership and voting rights to shares of the Company’s
           Common Stock or Exchangeable Shares in the aggregate representing approximately 6% of the shares of the Company’s Common Stock
           on a fully diluted basis (the “Additional Payments”), relating to matters providing additional value to the Company and that arise after
           the execution of the Merger Agreement;

                    WHEREAS, immediately following the conversion of the Note, the DK Investor Group will own, directly or indirectly, shares
           of the Company’s Common Stock representing approximately 23% of shares of the Company’s Common Stock on a fully diluted basis
           and the Parties, assuming the Additional Payments are made, will own in the aggregate, directly or indirectly, shares of Common Stock
           representing up to approximately 53% of the Company’s Common Stock or a fully diluted basis; and

                    WHEREAS, in connection with their entry into the Merger Agreement by the DK Shareholders and the consummation of the
           transactions contemplated thereby, and the entry into the Assignment and Assumption Agreement by the DK Investor Group and the
           consummation of the transactions contemplated thereby, the Parties have agreed to enter into this Agreement, which sets forth certain
           terms and conditions relating to, among other things, the ownership, transfer and voting of the shares of the Company’s Common Stock
           owned by the Parties.

           NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter set forth and for other good and valuable
           consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as follows


                                                                              2




21 of 42                                                                                                                                 1/26/2018, 5:06 PM
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                    Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18          Page 62 of 99



                                                                ARTICLE I
                                                                 VOTING

           Section 1.01   Parties’ Covenants to Vote.

                    (a) Each Party hereby agrees to vote or cause to be voted, or consent or cause to be consented, with respect to all
                        matters submitted to a vote or consent, as the case may be, of the Company’s stockholders at any time during the
                        term of this Agreement, whether the matter is brought before any meeting of the stockholders of the Company
                        however called, proposed to be taken by written consent of the stockholders of the Company or otherwise, all
                        Merger Shares owned or held by the Parties, directly or indirectly, (the “Party Shares”), as directed by the
                        Representative of the Parties. For the avoidance of doubt, the term “Party Shares” shall include all Merger
                        Shares owned or held by the Parties, directly or indirectly, as of the date hereof (after giving effect to the
                        transaction contemplated by the Merger Agreement and on the conversion of the Note) and all such Party Shares
                        and rights subsequently acquired by any Party by any means, including, without limitation, upon exercise of any
                        stock option, warrant or similar purchase right. The term “Representative of the Parties” or “Parties’
                        Representative” shall mean Bao or, if applicable, an entity under his majority control, in each case in his or its
                        capacity as Representative of the Parties.

                    (b) In furtherance of the voting agreement of the Parties contained in Section 1.01(a), each Party hereby constitutes
                        and appoints as the proxy of such Party, and hereby grants a power of attorney to, the Representative of the
                        Parties, with full power of substitution, with respect to all matters submitted to a vote or consent of the
                        Company’s stockholders as contemplated by the foregoing Section 1.01(a). Each of the proxy and power of
                        attorney granted pursuant to the immediately preceding sentence is given in consideration of the agreements and
                        covenants of the Parties in connection with the transactions contemplated by the Merger Agreement, the Note
                        and this Agreement, including the agreements to vote set forth in this Article I, and, as such, each is coupled with
                        an interest and shall be irrevocable unless and until this Agreement terminates pursuant to Article IV and for
                        greater certainty shall be an enduring power of attorney as defined in the Power of Attorney Act (British
                        Columbia) under which the attorney may exercise authority both (i) while the adult person granting such power
                        is capable, and (ii) while such adult is incapable, of making decisions about the grantor's financial affairs, and the
                        authority of the attorney continues despite the grantor’s incapacity, regardless of any Transfer or assignment of
                        the Party Shares of the Party and despite any Transfer by will, or devolution or otherwise at law to another
                        person on the death of such Party.


                                                                      3




22 of 42                                                                                                                           1/26/2018, 5:06 PM
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                    Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18          Page 63 of 99



                    (c)    Each Party hereby revokes any and all previous proxies or powers of attorney with respect to the Party Shares
                          owned or controlled by it and shall not hereafter, unless and until this Agreement terminates pursuant to Article
                          IV, purport to grant any other proxy or power of attorney with respect to any of the Party Shares owned or
                          controlled by it, deposit any of the Party Shares owned or controlled by it into a voting trust or enter into any
                          agreement (other than this Agreement), arrangement or understanding with any person or entity, directly or
                          indirectly, to vote, grant any proxy or give instructions with respect to the voting of any of the Party Shares.

                    (d) Each Party shall indemnify and hold harmless the Representative of the Parties from, against and in respect of
                        any loss, liability, claim, damage, cost, fine, deficiency, judgment, award, settlement and expense (including,
                        without limitation, interest, penalties, costs of investigation and defense and the reasonable fees and expenses of
                        attorneys and experts) (collectively, “Indemnifiable Expenses”) incurred directly by the Representative of the
                        Parties in connection with any claim asserted by an unaffiliated third party against the Representative of the
                        Parties based upon the voting of the Party’s Shares by the Representative of the Parties or its designee pursuant
                        to the proxy and power of attorney granted under Section 1.01(b). In addition, for the avoidance of doubt, the
                        indemnification contemplated by this Section 1.01(d) shall not apply to any Indemnifiable Expenses incurred in
                        connection with such Representative of the Parties capacity as a director, officer or employee of the Company.

                                                                ARTICLE II
                                                                 TRANSFER

           Section 2.01   General Restrictions on Transfer of Party Shares.

                    (a) Except as otherwise expressly permitted pursuant to this Article II, no Party shall Transfer (as hereinafter
                        defined) any of its Party Shares without the prior written consent of the Parties’ Representative, which consent
                        may be granted or withheld in the sole and absolute discretion of the Parties’ Representative.

                    (b) For all purposes of this Agreement, the term “Transfer” means, as a noun, any direct or indirect, voluntary or
                        involuntary transfer, sale, pledge, encumbrance, assignment, hypothecation, gift, or other disposition and, as a
                        verb, to voluntarily or involuntarily, directly or indirectly, transfer, sell, assign, pledge, encumber, hypothecate,
                        give, or otherwise dispose of, any of the Party Shares. In addition, with respect to any Party that is an entity, any
                        Transfer by any equity holder of such entity of his or its equity interests in such entity, or the issuance of any
                        additional equity interests in such entity, shall be deemed to be a Transfer for purposes of this Agreement.


                                                                      4




23 of 42                                                                                                                           1/26/2018, 5:06 PM
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                    Doc 1170          Filed 08/27/18          Page 64 of 99



                    Section 2.02     Permitted Transfers.

           A Party shall be free at any time (without the consent of the Parties’ Representative but, in the case of clauses (i) or (ii) of this sentence,
           upon at least five business days advance written notice to the Parties’ Representative) to Transfer all or any portion of its Party Shares:
           (i) in the case the transferring Party is a natural person, to a trust or estate, limited liability company, limited partnership or similar
           vehicle owned or controlled by such Party; and (ii) in the case of a transferring Party that is not a natural person, to (A) such Party’s
           equity holders on dissolution of such Party, or (B) a wholly owned subsidiary of such Party. Party Shares owned or held by a Party who
           is a natural person may also be Transferred upon such Party’s death or involuntarily by operation of law. In addition, Party Shares may
           be Transferred pursuant to a merger, consolidation or other business combination involving the Company’s Common Stock that has been
           approved by the Company’s Board of Directors and otherwise in compliance with all applicable laws, rules and regulations.
           Notwithstanding the foregoing, in the case of any Transfer permitted under this Section 2.02 (other than a permitted Transfer pursuant to
           the preceding sentence of this Section 2.02), it shall be a condition to such Transfer that such transferee agrees, by executing a joinder
           agreement in substantially the form attached hereto as Exhibit A (y) to be bound by this Agreement as a Party with respect to all of the
           Party Shares Transferred to such transferee, and (z) that all of the Party Shares Transferred to such transferee remain subject to this
           Agreement and all of the terms, conditions and restrictions hereof as Party Shares.

                    Section 2.03     Right of First Refusal.

                               (a) If a Party (such Party, an "Offering Stockholder") receives a bona fide offer (the “Offer”) from any unaffiliated
                                   third party (a “Third Party Purchaser”) to purchase any or all of the Party Shares owned by such Party (the
                                   “Offered Shares”) and the Offering Stockholder desires to Transfer the Offered Shares to the Third Party
                                   Purchaser pursuant to such Offer, then the Offering Stockholder must first make an offering of the Offered
                                   Shares to the other Parties in accordance with the provisions of this Section 2.03.

                               (b) The Offering Stockholder shall, within five business days after receipt of the Offer from the Third Party
                                   Purchaser, give written notice (the "Offering Stockholder Notice") to the Parties’ Representative stating that it
                                   has received a bona fide offer from a Third Party Purchaser and specifying:

                                           (i) the number of Offered Shares proposed to be Transferred by the Offering Stockholder;


                                                                                  5




24 of 42                                                                                                                                        1/26/2018, 5:06 PM
                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18         Page 65 of 99



                       (ii) the identity of the Third Party Purchaser;

                       (iii) the per share purchase price and the other material terms and conditions of the Offer, including a
                             description of any non-cash consideration in sufficient detail to permit the valuation thereof; and

                       (iv) the proposed date, time and location of the closing of the Offer, which shall not be less than 60 days
                            from the date of the Offering Stockholder Notice.

           (c) The Offering Stockholder Notice shall constitute the Offering Stockholder's offer to Transfer the Offered Shares
               to each ROFR Purchaser (as hereinafter defined), which offer shall be irrevocable for the ROFR Notice Period
               (as hereinafter defined).

           (d) Upon receipt of the Offering Stockholder Notice, each of the Parties and, if applicable, their respective assignees
               under this Section 2.03 (the “ROFR Purchaser”) shall have 45 days (the “ROFR Notice Period”) to elect, in its
               sole discretion, to purchase its pro rata share or such additional number as it would purchase in the event that any
               Party does not provide an ROFR Notice in respect of their pro rata share of the Offered Shares, on the terms
               specified in the Offering Stockholder Notice (subject to the right of the ROFR Purchaser pursuant to Section
               2.03(e) below to pay the purchase price solely in cash), by delivering a written notice of such election (a "ROFR
               Notice") to the Offering Stockholder. Any ROFR Notice shall be binding upon delivery and irrevocable by the
               ROFR Purchaser. If not all Offered Shares are the subject of an ROFR Notice, any ROFR Purchaser that has
               delivered an election to purchase more that its pro rata share shall be entitled to purchase Offered Shares in
               excess of the number of Offered Shares which represent its pro rata share of Offered Shares on a pro rata basis
               with all other Parties who have so elected. For the purposes of this Section a “pro rata” share shall mean the
               number of Party Shares a Party owns divided by the aggregate of the number of Party Shares owned by all of the
               Parties or for which the Parties have sent an ROFR Notice, as applicable.


                                                            6




25 of 42                                                                                                                1/26/2018, 5:06 PM
                                                                                    https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170         Filed 08/27/18         Page 66 of 99



                              (e) If the ROFR Purchasers elect to purchase all, but not less than all, of the Offered Shares pursuant to this Section
                                  2.03, the ROFR Purchasers and the Offering Stockholder shall take all actions as may be reasonably necessary to
                                  consummate the purchase and sale of such Offered Shares, including entering into agreements and delivering
                                  certificates and instruments and consents as may be deemed necessary or appropriate, and making all payments
                                  in connection therewith, within 30 days after delivery of the ROFR Notice (or if such 30 day period expires
                                  during a period in which “insiders” of the Company are prohibited from purchasing or selling securities of the
                                  Company and such prohibition applies to the exercise of the ROFR Purchaser’s rights hereunder, within 10 days
                                  following the expiration of such restricted period). Notwithstanding anything to the contrary contained herein, if
                                  all or any portion of the consideration proposed to be paid by the Third Party Purchaser for the Offered Shares as
                                  set forth in the Offering Stockholder Notice is other than cash, the ROFR Purchaser shall have the option
                                  exercisable in its sole discretion by specifying the same in the ROFR Notice to pay the purchase price solely in
                                  cash, in which case the fair market value of the proposed non-cash consideration shall be determined in good
                                  faith by the disinterested members of the Company’s Board of Directors. All cash payments shall be paid by
                                  certified check or by wire transfer of immediately available funds to an account designated in writing by the
                                  Offering Stockholder to the ROFR Purchaser.

                              (f) If the ROFR Purchaser does not elect in an ROFR Notice delivered during the ROFR Notice Period to purchase
                                  all, but not less than all, of the Offered Shares, (i) the Party and, if applicable, ROFR Purchaser shall be deemed
                                  to have waived their rights to purchase the Offered Shares under this Section 2.03, and (ii) the Offering
                                  Stockholder may, during the 60-day period immediately following the expiration of the ROFR Notice Period and
                                  subject to Section 2.03(g), transfer to the Third Party Purchaser all but not less than all of the Offered Shares on
                                  terms and conditions no more favorable to the Third Party Purchaser than those set forth in the Offering
                                  Stockholder Notice. If the Offering Stockholder does not Transfer the Offered Shares within such period, the
                                  rights provided under this Section 2.03 shall be deemed to be revived and the Offered Shares shall not be
                                  Transferred to the Third Party Purchaser or otherwise pursuant to this Section 2.03 unless the Offering
                                  Stockholder sends a new Offering Stockholder Notice in accordance with, and otherwise complies with, this
                                  Section 2.03.

                     Section 2.04    Condition to Transfer of Party Shares.

           For so long as the Parties are required to have in place the power of attorney in favour of Bao or his nominee in accordance with Section
           1.01 (such period, the “Restricted Period”), it shall be a condition to any Transfer of a Party’s Shares that the transferee agrees, by
           executing a joinder agreement in substantially the form attached hereto as Exhibit A, (i) to be bound by this Agreement as a Party with
           respect to all of the Party’s Shares Transferred to such transferee, and (ii) that all of the Party’s Shares Transferred to such transferee
           remain subject to this Agreement and all of the terms, conditions and restrictions hereof as the Party’s Shares.


                                                                                7




26 of 42                                                                                                                                    1/26/2018, 5:06 PM
                                                                         https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                    Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18          Page 67 of 99



           Section 2.05   Drag-Along and Tag-Along Rights.

                    (a) If a Party holding in excess one-third (1/3) of the total number of Party Shares (the “Transferor”) elects to sell
                        (either in a single or a series of related transactions) shares representing 50% or more of the Party’s Shares (such
                        Party’s Shares desired to be so Transferred, the “Transferor Shares”)) to an unaffiliated third party (a “Drag-
                        Tag Buyer”), then, at least 30 days prior to the date upon which the Party intends to consummate such Transfer,
                        the Transferor shall give written notice thereof which notice shall set forth the consideration to be paid by the
                        Drag-Tag Buyer, and the other material terms and conditions of such transaction (such notice, the “Transferor
                        Notice”) to each Party and the Parties’ Representative that the Transferor desires (the “Drag-Along Right”) that
                        each such Party Transfer in the transaction the percentage of its Party Shares equal to the percentage of the
                        Transferor Shares being Transferred in the transaction compared to all of Party Shares owned by the Party at that
                        time (the “Ratable Percentage Shares”) and on the same terms and conditions, including price, upon which the
                        Transferor is Transferring the Transferor Shares. The Parties shall, subject to the provisions of this Section 2.05,
                        consent to and raise no objections against such Transfer by the Party and, if requested to do so by the Transferor
                        in the Transferor Notice, Transfer their respective Ratable Percentage Shares, subject to the provisions of this
                        Section 2.05, on the same terms and conditions upon which the Transferor is Transferring the Transferor Shares.

                    (b) If the Transferor proposes to sell Transferor Shares pursuant to any transaction or series of related transactions as
                        to which the Transferor would be entitled to exercise the Drag-Along Right but the Transferor does not so elect
                        to exercise the Drag-Along Right, then, as a condition to such Transfer, each Party shall have the right (the “Tag-
                        Along Right”) to sell to the Drag-Tag Buyer, at such Party’s option, such Party’s Ratable Percentage Shares (as
                        calculated in the same manner as set forth in Section 2.05(a)), on the same terms and conditions and at the same
                        price as are applicable to the Transferor Shares. In the event that the Tag-Along Right applies with respect to a
                        proposed Transfer of Transferor Shares, then (i) the Transferor shall provide notice thereof in the Transferor
                        Notice and (ii) each Party shall have 30 days following receipt of the Transferor Notice to elect to sell all or a
                        portion of such Party’s Ratable Percentage Shares. The failure of a Party to notify the Transferor of its election of
                        the Tag-Along Right within such 30 day period shall be deemed to constitute a waiver of such Party’s Tag-Along
                        Right with respect to such Transfer. If the Drag-Tag Buyer is unwilling to purchase the Transferor Shares and all
                        of the Party Shares desired to be sold by Parties exercising the Tag-Along Right, then, at the Transferor’s sole
                        option, either (i) the transaction shall not be consummated or (ii) each of the Transferor Shares and the Party
                        Shares desired to be sold in the transaction by Parties exercising the Tag-Along Right shall be ratably reduced to
                        equal an amount of shares determined by multiplying the Transferor Shares or the applicable Party Shares, as the
                        case may be, by a fraction, the numerator of which is the total number of shares which the Drag-Tag Buyer
                        agrees to purchase in the transaction and the denominator of which is the total number of Transferor Shares and
                        Party Shares desired to be sold in the transaction.


                                                                     8




27 of 42                                                                                                                          1/26/2018, 5:06 PM
                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18          Page 68 of 99



           (c) If the Transferor exercises the Drag-Along Right, each Party shall, and each Party who exercises the Tag-Along
               Right shall, take such actions as reasonably necessary to consummate the applicable transaction, including,
               without limitation, to execute and deliver a definitive purchase and sale (or other similar) agreement, in
               substantially the same form and substance as the definitive agreement executed and delivered by the Transferor;
               provided, that (i) if the Transferor exercises the Drag-Along Right, no Party will be required to provide
               representations and warranties other than several (and not joint) representations and warranties, and indemnities
               with respect thereto, substantially similar in scope and substance (other than to conform the same to the
               applicable transaction) to the representations and warranties made by the DK Shareholders in the Agreement,
               and (ii) if the Tag-Along Right is exercised, (A) the representations and warranties relating specifically to a Party
               participating in the transaction shall be made only by such Party and any indemnification provided by any Party
               participating in the transaction with respect to the Company, if any, shall be based on the shares being
               Transferred by each of them vis a vis all of the shares in the Company being Transferred in the transaction, on a
               several, not joint, basis, (B) no Party shall be required to provide any indemnity in such transaction that provides
               for liability to such Party in excess of the amount of proceeds actually received by such Party in such transaction,
               and (C) each of the Transferor and each Party participating in the transaction shall bear its pro rata share of the
               costs of the transactions based on the net proceeds to be received by each such person in connection with the
               transaction to the extent such costs are incurred for the benefit of persons selling shares in the transaction and are
               not paid by the Drag-Tag Buyer.

           (d) The Transferor shall have 120 days following the date of the Transferor Notice in which to consummate a
               transaction subject to this Section 2.05 on the terms set forth in the Transferor Notice (which 120-day period
               shall be extended for a reasonable time to the extent reasonably necessary to obtain any regulatory approvals or
               if necessary to enable the Transferor and any Party as an insider of the Company to engage in a transaction in the
               securities of the Company). If at the end of such period, the Transferor has not completed the transaction other
               than as a result of any action or inaction by a Party in breach of this Agreement, the Transferor may not then
               effect a transaction subject to this Section 2.05 without again fully complying with the provisions of this Section
               2.05.


                                                             9




28 of 42                                                                                                                  1/26/2018, 5:06 PM
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18          Page 69 of 99



                                                                    ARTICLE III
                                                           REPRESENTATIONS AND WARRANTIES

                    Section 3.01 Representations and Warranties. Each Party, severally and not jointly, represents and warrants to each of the
           other Parties, severally and not jointly, that:

                             (a) if such Stockholder is not a natural person, such Stockholder is duly organized and validly existing in good
                                 standing under the laws of the jurisdiction in which it is formed, and has the requisite power and authority to
                                 own its properties and to carry on its business as now being conducted;

                             (b) if such Stockholder is a natural person, such Stockholder is under no impairment or other disability, legal,
                                 physical, mental or otherwise, that would preclude or limit the ability of the Party to enter into this Agreement or
                                 perform his obligations hereunder;

                             (c) such Stockholder has the requisite power and authority to enter into and perform its or his obligations under this
                                 Agreement;

                             (d) the execution and delivery of this Agreement by such Stockholder have been duly authorized and, except for
                                 filings required under the Exchange Act, no further filing, consent, or authorization is required;

                             (e) this Agreement has been duly executed and delivered by such Stockholder, and constitutes the legal, valid and
                                 binding obligation of such Stockholder, enforceable against such Stockholder in accordance with the terms
                                 hereof, except as such enforceability may be limited by general principles of equity or applicable bankruptcy,
                                 insolvency, reorganization, moratorium, liquidation or similar laws relating to, or affecting generally, the
                                 enforcement of applicable creditors’ rights and remedies;

                             (f) the execution, delivery and performance of this Agreement and the consummation by such Stockholder of the
                                 transactions contemplated hereby do not and will not: (i) if such Stockholder is not a natural person, result in a
                                 violation of the organizational documents of such Stockholder; (ii) conflict with, or constitute a default (or an
                                 event which with notice or lapse of time or both would become a default) under, or give to others any rights of
                                 termination, amendment, acceleration or cancellation of, any agreement, indenture or instrument to which such
                                 Stockholder is a party or by which such Stockholder is bound or to which any of its or his assets or properties are
                                 subject; or (iii) result in a violation of any Law applicable to such Stockholder or by which any of his or its assets
                                 or properties is bound or affected; and


                                                                              10




29 of 42                                                                                                                                    1/26/2018, 5:06 PM
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                               Case 3:16-bk-02230-PMG                   Doc 1170          Filed 08/27/18          Page 70 of 99



                               (g) except for this Agreement, the Merger Agreement, the Note and any agreements or arrangements that were
                                   terminated prior to the consummation of the transactions contemplated by the Merger Agreement, such
                                   Stockholder has not entered into or agreed to be bound by any other agreements or arrangements of any kind
                                   with any other party with respect to the shares of the Company’s Common Stock or any conversion rights in
                                   respect of the Note owned or held by such Stockholder, including agreements or arrangements with respect to the
                                   acquisition or disposition of such shares or any interest therein or the voting of such shares.

                                                                         ARTICLE IV
                                                                     TERM AND TERMINATION

                     Section 4.01 Termination. The term of this Agreement shall commence on the date hereof and shall terminate upon the
           earliest of (a) such time, if any, as no Party Shares remain subject to this Agreement, (b) the dissolution, liquidation, or winding up of the
           Company, (c) such time, if any, as the holder(s) of a majority of all of the Party Shares elect to terminate this Agreement by providing
           written notice of such termination to the Parties, (d) the fifth anniversary of the date hereof; provided, however, that solely in the case of
           clause (d), if any period for giving notice or exercising a right or option under, or otherwise complying with the provisions of or
           completing a transaction (or, if applicable, series of related transactions), under, Sections 2.03, 2.04 or 2.05 is in effect on the fifth
           anniversary of the date hereof, then solely with respect to such transaction (or, if applicable, series of related transactions), the provisions
           of Sections 2.03, 2.04 and 2.05, as the case may be, and the Parties’ respective obligations thereunder shall survive the termination of
           this Agreement in accordance with their terms.

                                                                          ARTICLE V
                                                                         MISCELLANEOUS

                     Section 5.01 Expenses; Prevailing Party. Each Party shall pay his or its own expenses (including attorneys’ fees) incident to
           this Agreement and the transactions contemplated herein. Notwithstanding the foregoing, in the event that any Party institutes any action
           or suit to enforce this Agreement or to secure relief from any default hereunder or breach hereof, the prevailing party shall be reimbursed
           by the losing party or parties for all costs and expenses, including reasonable attorneys’ fees and expenses, incurred in connection
           therewith and in enforcing or collecting any judgment rendered therein.


                                                                                 11




30 of 42                                                                                                                                        1/26/2018, 5:06 PM
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                    Doc 1170          Filed 08/27/18          Page 71 of 99



                    Section 5.02 Notices. Any and all notices or other communications or deliveries required or permitted to be provided under
           this Agreement shall be in writing and shall be deemed given and effective on the earliest of (a) the business day following the date of
           mailing, if sent by nationally recognized overnight courier service, specifying next business day delivery, (b) the third business day
           following the date of mailing, if sent by certified mail, return receipt requested, postage prepaid, or (c) upon actual receipt by the Party to
           whom such notice is required to be given if delivered by hand. The address for such notices and communications shall be as follows:

                    (a)      If to Daoping Bao:
                             5790 126A Street
                             Surrey, British Columbia V3X 3H6
                             Canada

                             Attention:    Daoping Bao
                             Facsimile:    (604) 277-1617
                             Email:        daoping@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com

                    (b)      If to Nancy Brenner:
                             18 - 1828 Lilac Drive
                             Surrey, British Columbia V4A 5C9
                             Canada

                             Attention:    Nancy Brenner
                             Facsimile:    (604) 277-1617
                             Email:        nancy@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com


                                                                                 12




31 of 42                                                                                                                                       1/26/2018, 5:06 PM
                                                                                     https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170          Filed 08/27/18         Page 72 of 99



                    (c)      If to DK Investor Group:
                             Dinoking Tech Inc.
                             c/o Daoping Bao
                             #110 - 11188 Featherstone Way
                             Richmond, British Columbia V6W 1K9
                             Canada

                             Attention:    Daoping Bao
                             Facsimile:    (604) 277-1617
                             Email:        daoping@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com

           or, in each case or in the case of a subsequently admitted Party to this Agreement, to such other address as may be designated in writing
           hereafter, in the same manner, by such Party by prior notice to the other Party or Parties, as the case may be, in accordance with this
           Section 5.02.

                     Section 5.03 Governing Law; Waiver of Jury Trial. All questions concerning the construction, validity, enforcement and
           interpretation of this Agreement shall be governed by and construed and enforced in accordance with the internal Laws of the State of
           Florida, without regard to the principles of conflicts of law thereof. Each Party agrees that all legal proceedings concerning the
           interpretation, enforcement and defense of this Agreement or the transactions contemplated by this Agreement (whether brought against
           a Party hereto or his or its respective Affiliates, directors, officers, securityholders, members, employees or agents) shall be commenced
           exclusively in the state or federal courts sitting in Florida. Each Party hereto hereby irrevocably submits to the exclusive jurisdiction of
           the state and federal courts sitting in Florida for the adjudication of any dispute hereunder or in connection herewith or with any
           transaction contemplated hereby or discussed herein (including with respect to the interpretation or enforcement of this Agreement), and
           hereby irrevocably waives, and agrees not to assert in any Proceeding, any claim that it is not personally subject to the jurisdiction of any
           such court or that such Proceeding is improper. Each Party hereto hereby irrevocably waives personal service of process and consents to
           process being served in any such Proceeding by mailing a copy thereof via registered or certified mail or overnight delivery (with
           evidence of delivery) to such Party at the address in effect for notices to it under this Agreement and agrees that such service shall
           constitute good and sufficient service of process and notice thereof. Nothing contained herein shall be deemed to limit in any way any
           right to serve process in any manner permitted by applicable Law.


                                                                                13




32 of 42                                                                                                                                      1/26/2018, 5:06 PM
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                    Doc 1170          Filed 08/27/18          Page 73 of 99



                 TO THE FULLEST EXTENT PERMITTED BY LAW, THE PARTIES HERETO HEREBY WAIVE THEIR
           RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT
           OF THIS AGREEMENT OR ANY DEALINGS BETWEEN THEM RELATING TO THE SUBJECT MATTER OF THIS
           TRANSACTION. THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL
           DISPUTES THAT RELATE TO THE SUBJECT MATTER OF THIS AGREEMENT, INCLUDING, WITHOUT
           LIMITATION, CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW
           AND STATUTORY CLAIMS. IN THE EVENT OF LITIGATION, THIS AGREEMENT MAY BE FILED AS A WRITTEN
           CONSENT TO A TRIAL BY THE COURT.

                   Section 5.04 Titles and Headings. The titles and headings in this Agreement are for reference purposes only, and shall not in
           any way affect the meaning or interpretation of this Agreement.

                     Section 5.05 Severability. Any provision of this Agreement that is prohibited or unenforceable in any jurisdiction shall, as to
           such jurisdiction, be ineffective to the extent of such prohibition or unenforceability without invalidating the remaining provisions
           hereof, and any such prohibition or unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in any
           other jurisdiction. If any court of competent jurisdiction determines that any term or provision hereof, or any part of any such term or
           provision is invalid or unenforceable, such term or provision, or part thereof, shall be enforced to the full extent permitted by such court,
           and all other terms and provisions shall not thereby be affected and shall be given full effect, without regard to the invalid provisions or
           portions.

                    Section 5.06 Entire Agreement. This Agreement, the Merger Agreement, the Note and the other documents being executed
           by the parties in connection with the Merger Agreement constitute the entire agreement of the Parties with respect to the subject matter
           contained herein and supersede all prior and contemporaneous understandings and agreements, both written and oral, with respect to
           such subject matter.

                     Section 5.07 Successors and Assigns. This Agreement shall be binding upon and shall inure to the benefit of the Parties
           hereto and their respective heirs, successors, legal representatives, and permitted assigns and, to the extent set forth herein, transferees.

                   Section 5.08 No Third Party Beneficiaries. Nothing expressed or implied in this Agreement is intended, or shall be
           construed, to confer upon any person or entity other than the Parties hereto and their respective heirs, successors, legal representatives,
           and permitted assigns and, to the extent set forth herein, transferees, any rights or remedies under or by reason of this Agreement.


                                                                                 14




33 of 42                                                                                                                                        1/26/2018, 5:06 PM
                                                                                     https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                   Doc 1170          Filed 08/27/18          Page 74 of 99



                    Section 5.09 Amendment and Modification; Waiver. This Agreement may only be amended, modified or supplemented by
           an agreement in writing signed by the holder(s) of a majority of the Party Shares then subject to this Agreement. No waiver by any party
           of any of the provisions hereof shall be effective unless explicitly set forth in writing and signed by the Party so waiving. No waiver by
           any Party shall operate or be construed as a waiver in respect of any failure, breach or default not expressly identified by such written
           waiver, whether of a similar or different character, and whether occurring before or after that waiver. No failure to exercise, or delay in
           exercising, any right, remedy, power or privilege arising from this Agreement shall operate or be construed as a waiver thereof; nor shall
           any single or partial exercise of any right, remedy, power or privilege hereunder preclude any other or further exercise thereof or the
           exercise of any other right, remedy, power or privilege.

                     Section 5.10 Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed an original
           agreement, but all of which together shall constitute one and the same instrument. This Agreement may be transmitted by facsimile or
           electronically, and it is the intent of the parties that the facsimile copy (or a photocopy or PDF copy) of any signature printed by a
           receiving facsimile machine or computer printer shall be deemed an original signature and shall have the same force and effect as an
           original signature.

                    Section 5.11 Further Assurances. The Parties hereto shall from time to time execute and deliver all such further documents
           and instruments and do all acts and things as the other Parties (in particular, the party or parties whose rights and privileges may be
           affected or at issue) may reasonably request or require to effectively carry out or better evidence or perfect the full intent and meaning of
           this Agreement.

                     Section 5.12 Equitable Remedies. Each Party hereto acknowledges that the other Party or Parties hereto would be
           irreparably damaged in the event of a breach or threatened breach by such Party of any of its obligations under this Agreement and
           hereby agrees that in the event of a breach or a threatened breach by such Party of any such obligations, each of the other Parties hereto
           shall, in addition to any and all other rights and remedies that may be available to them in respect of such breach under this Agreement,
           at law or in equity, be entitled to an injunction from a court of competent jurisdiction (without any requirement to post bond) granting
           specific performance by such Party of its obligations under this Agreement.

                    Section 5.13    Legend on Stock Certificates.

                               (a) In addition to any legends required by applicable Law, (i) each stock certificate representing any Party Shares
                                   shall bear a legend in substantially the form set forth in paragraph (b) below for so long as this Agreement
                                   remains in effect.


                                                                                15




34 of 42                                                                                                                                      1/26/2018, 5:06 PM
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                    Case 3:16-bk-02230-PMG                  Doc 1170          Filed 08/27/18         Page 75 of 99



                    (b) The restrictive legend referenced in paragraph (a) above shall be in substantially the following form:

           “THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO THAT CERTAIN STOCKHOLDERS AGREEMENT, DATED APRIL 2,
           2015, AND ALL AMENDMENTS THERETO, COPIES OF WHICH ARE ON FILE AT THE PRINCIPAL OFFICE OF THE COMPANY, AND
           VOLUNTARY OR INVOLUNTARY SALE, PLEDGE, ASSIGNMENT, HYPOTHECATION, GIFT, OR OTHER DISPOSITION OR TRANSFER (AS
           DEFINED IN SUCH STOCKHOLDERS AGREEMENT) OF THE SHARES REPRESENTED BY THIS CERTIFICATE OR ANY INTEREST THEREIN
           SHALL BE SUBJECT TO THE TERMS OF SUCH STOCKHOLDERS AGREEMENT AND THE SHARES REPRESENTED HEREBY SHALL
           REMAIN SUBJECT TO THE TERMS OF SUCH STOCKHOLDERS AGREEMENT NOTWITHSTANDING ANY SUCH TRANSFER.”


                    (c) The Parties hereby agree to immediately submit to the Company the stock certificates held by each of them
                        representing the Party Shares, as the case may be, for inscription of the aforesaid restrictive legend thereon.

                    (d) Notwithstanding the foregoing or anything to the contrary contained herein, the enforceability of this
                        Agreement, including, without limitation, the proxy granted hereby, shall not be affected by the fact that the
                        stock certificates representing any Party Shares have not been delivered as provided for herein or that such stock
                        certificates may not bear any legend with respect to the provisions of this Agreement.

           Section 5.14   Construction; Interpretation.

                    (a) This Agreement shall be interpreted and construed without regard to any rule or presumption requiring that this
                        Agreement be interpreted or construed against the party causing this Agreement to be drafted.

                    (b) Whenever the context of this Agreement permits, the masculine or neuter gender shall include the feminine,
                        masculine and neuter genders, and any reference to the singular or plural shall be interchangeable with the other.

                    (c) For the avoidance of doubt, the terms “Common Stock,” and “Party Shares” as used throughout this
                        Agreement shall refer to the Company’s Common Stock or shares thereof, as the context may require, and any
                        other securities into which the Company’s Common Stock may be converted during the term of this Agreement.

                                                    [SIGNATURE PAGE FOLLOWS]



                                                                     16




35 of 42                                                                                                                          1/26/2018, 5:06 PM
                                              https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG   Doc 1170      Filed 08/27/18      Page 76 of 99




                                         17




36 of 42                                                                                       1/26/2018, 5:06 PM
                                           https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18      Page 77 of 99




37 of 42                                                                                    1/26/2018, 5:06 PM
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                             Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18         Page 78 of 99



                                                                        EXHIBIT A

                                                                 Form of Joinder Agreement

                  Reference is hereby made to that certain Stockholders Agreement, dated as ________, 2015 (as amended from time to time, the
           "Stockholders Agreement"), by the DK Shareholders and the DK Investor Group, as defined therein, and the other Stockholders which
           may have become a party thereto from time to time.

                    Pursuant to and in accordance with Sections 2.02 and 2.04 of the Stockholders Agreement, the undersigned hereby agrees that
           upon the execution of this Joinder Agreement, (a) the undersigned shall become a party to the Stockholders Agreement as a Party, (b) the
           undersigned shall be fully bound by, and subject to, all of the covenants, terms and conditions of the Stockholders Agreement as a Party
           as though an original party thereto, and (c) the shares of the Company’s Common Stock acquired on the date hereof by the undersigned
           from __________ shall be deemed to be [Party] Shares for all purposes of the Stockholders Agreement.

                   Capitalized terms used herein without definition shall have the meanings ascribed to such terms in the Stockholders Agreement.

           IN WITNESS WHEREOF, the undersigned has executed this Joinder Agreement as of _____________.

                                                                                [Transferee Stockholder Name]

                                                                                By
                                                                                Name:
                                                                                Title:

                                                                              Address:




38 of 42                                                                                                                                 1/26/2018, 5:06 PM
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
                              Case 3:16-bk-02230-PMG                  Doc 1170         Filed 08/27/18         Page 79 of 99



                                                                                                                                           Exhibit 3

                                                                 JOINDER AGREEMENT

                  Reference is hereby made to that certain Stockholders Agreement, dated as April 2, 2015 (as amended from time to time, the
           "Stockholders Agreement"), by the DK Shareholders and the DK Investor Group, as defined therein, and the other Stockholders which
           may have become a party thereto from time to time.

                     The undersigned confirms that it is a part of the DK Investor Group and will be advancing funds under the Note, as defined in
           the Stockholders Agreement and hereby agrees that upon the execution of this Joinder Agreement, (a) the undersigned shall become a
           party to the Stockholders Agreement as a Party, (b) the undersigned shall be fully bound by, and subject to, all of the covenants, terms
           and conditions of the Stockholders Agreement as a Party as though an original party thereto.

                    Capitalized terms used herein without definition shall have the meanings ascribed to such terms in the Stockholders Agreement.

           IN WITNESS WHEREOF, the undersigned has executed this Joinder Agreement as of April 2, 2015.

                                                                                 MANDRA FORESTRY LIMITED


                                                                                 By:        /s/ ZHANG SONG-YI
                                                                                 Name:      ZHANG SONG-YI
                                                                                 Title:


                                                                                 Address: c/o Porticullis TrustNet (BVI) Limited


                                                                                 Porticullis TrustNet Chambers, PO Box 3444


                                                                                 Road Town, Tortola
                                                                                 British Virgin Islands




39 of 42                                                                                                                                   1/26/2018, 5:06 PM
                                           https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18      Page 80 of 99



                                                                                            Exhibit 4




40 of 42                                                                                    1/26/2018, 5:06 PM
                                           https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18      Page 81 of 99




41 of 42                                                                                    1/26/2018, 5:06 PM
                                           https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...
           Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18      Page 82 of 99




42 of 42                                                                                    1/26/2018, 5:06 PM
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 83 of 99




              Exhibit D
           Case 3:16-bk-02230-PMG               Doc 1170            Filed 08/27/18       Page 84 of 99




                                   PREMIER EXHIBITIONS, INC.

                                              PLAN TERM SHEET


                                              January   [    1,   2018


         The following is a summary (the "Term Sheet") of ce :> riincipal terms and provisions of a
pre -arranged chapter 11 plan of reorganization (the "Plan"
supported by the Plan Sponsors (as defined below). Th.
                                                                   )ç
                                                                    ''
                                                                     "'
                                                                           Company (as defined below) to be
                                                                             et does not constitute an offer of

11 plan, and is being presented for discussion wi           ..
securities or a solicitation or offer to purchase securities n s it
                                                              +'
                                                                         qr      or solicitation for any chapter
                                                                  ompany and settlement purposes only No
party shall have any obligation, express or i                to negotiate with respect to the transactions
contemplated by this Term Sheet or to negotiat venter into any definitive agreement. The terms of
this Term Sheet set forth below are intended to pro e framework for a proposed transaction and do

herein, and the transactions contempl
to be set forth in the Plan and other re
                                        .ñ
not constitute a binding agreement with respect to             1,specific transaction strut a contemplated
                                                this Term Sheet are subject to further to s and conditions
                                                     'five docuthents:.
     THIS TERM SHEET DOES         .., UTE (NOR SHALL IT BE CONSTRUED
AS) AN OFFER WITH RESPECT           SÉCURITIES OR A SOLICITATION OF
ACCEPTANCES OR, .ETEChONS AS p ANY. PLAN OF REORGANIZATION, IT BEING
UNDERSTOOD THAT SUCH A SOLICITATION, IF ANY, ONLY WILL BE MADE IN
COMPLIANCE WITH APPLICABLE PROVISIONS OF SECURITIES, BANKRUPTCY
AND/OR OTHER APPLICABLE CANS.
      THIS TERM SHEET DOES NOT ADDRESS ALL TERMS THAT WOULD BE
REQUIRED IN CONNECTION WITH AN POTENTIAL RESTRUCTURING AND ENTRY
INTO ,OR_ THE CREATION OF    lY BINDING AGREEMENT IS SUBJECT TO THE
                                          ?


EXECUTION OF DEFINITIVE 'DOCUMENTATION IN FORM AND SUBSTANCE
CONSISTENT°. WITH THIS TERM SHEET AND OTHERWISE ACCEPTABLE TO THE
COMPANY        THE PLAN SPONStS. THIS TERM SHEET HAS BEEN PRODUCED
FOR DISCUSSION: AND SETTLEMENT PURPOSES ONLY AND IS SUBJECT TO THE
PROVISIONS OF RULE 408. OF THE FEDERAL RULES OF EVIDENCE AND OTHER
SIMILAR APPLICABLE STA iE AND FEDERAL RULES.
     THIS TERM SHEET AND THE INFORMATION CONTAINED HEREIN IS
STRICTLY CONFIDENTIAL, INTENDED FOR REVIEW BY THE COMPANY AND ITS
ADVISORS ONLY, AND SHALL NOT BE SHARED WITH ANY OTHER PARTY
ABSENT THE PRIOR WRITTEN CONSENT OF COUNSEL TO THE AD HOC EQUITY
GROUP, EXCEPT AS REQUIRED BY LAW.




                                                        1


#5600385




                                                                                                                   GLASS000184
           Case 3:16-bk-02230-PMG                                      Doc 1170   Filed 08/27/18       Page 85 of 99




 I.        Purpose

 This Term Sheet sets forth the principle terms of a restructuring of the Company pursuant to a
                                                                                                pre -
 negotiated Plan that would be supported and funded by the Plan Sponsors. The proposed
 restructuring is designed to enable the Company to emerge from chapter 11 expeditiously with a new
 capital structure that provides future optionality as determined by the Reorganized Company's
                                                                                                board
 of directors.

 The Plan Sponsors believe confirmation of this Plan, supported by the requisite stakeholders,
                                                                                               would
 provide significant value and improved certainty for the Company and its stakeholders as compared
 to a fire -sale 363 auction process.

 II.       Parties

  Debtors:                                            Premier Exhibitions;:; Inc ( "PRXI"),'RMS Titanic, Inc. (RMST),
                                                      Premier Merchandi tig, LLC ( "MERCH" ), Premier Exhibitions
                                                      Management, LLÇ ("PEM"), Arts and Exhibitions International, LLC
                                                      ("AEI "), Premier Exhibitions NYC, Inc ("PENYC "), Premier
                                                      Exhibitions International LLC (`1PEI"), and tiinosaurs Unearthed
                                                      Corp. ("Dinosaurs ") (colle ße1 ,''the "Company" öi the "Debtors ").
                                                                Efi:              "F

                                                                                   It>


  Pre -Petition Lenders'                              The $3,00'WQ00iñ }he aggregate secured loan made by Jihe Zhang,
  Claims:                                             Haiping Zoe and "L- anger, Feng".:;o the Debtors prior to the
                                                      Ctnrnencemeit Sof the Chapter 11 cases (such obligations, in the
                                                      aggregate, as o the.:.';date of tthe filing of the Plan, the "Lenders'
                                     '                Clairris").
                                                            i`'i:
  Creditors' Comrmttee                                             {Committee of Unsecured Creditors appointed on August
                                                     ;1,'he Q 1Ca.al
                     E
                         1
                             ¡                       24, Z(ì16 by the United\States Trustee for the Middle District of Florida
                                                     (the `'U.S. Tru to ' ),,.cof sisting of (i) TSX Operating Co., LLC; (ii)
                                                 ; . Dalliarf ` Hoffen Böfechnique Co. Ltd., and (iii)
                                             {


                                                                                                               B.E. Capital
              i                                  S  'Manager .ent Fund LP.
 DIP Lender:         t           ,                     Bk i point Capital Partners LP, lender under that certain DIP Loan
                                                       Agièement, dated as of May 18, 2017, by order of the Court entered on
                                                       a 61zá1 basis on July 12, 2017 [Dkt. No. 650], as amended by order of
                                                        he,:t ourt on July 27, 2017 [Dkt. No. 686] (the "Obligations"
                                         '           ',thereunder, the "DIP Lender's Claim ").

 General Unsecured                                   Any unsecured claim against the Company that is not an administrative
 Claims:                                             claim, priority tax claim, other priority claim, professional
                                                     compensation claim, Lender's Secured Claim, DIP Lender's Claim or
                                                     other secured claim, and which is not subject to bona fide dispute
                                                     (collectively, the "General Unsecured Claims ").

 Equity Holders:                                     Holders of common shares in PRXI.


                                                                          2

#5600385




                                                                                                                                 GLASS000185
           Case 3:16-bk-02230-PMG               Doc 1170         Filed 08/27/18         Page 86 of 99




     Plan Sponsors:                The members of the Ad Hoc Group of Equity Holders, related third
                                   parties and [certain other Equity Holders].'

           Transaction Overview

                      The Plan Sponsors would agree to purchase [100]% of the equity interests of
                      reorganized PRXI (the "Reorganized Equity") (subject to dilution for the
                      Management Incentive Plan (as defined below)) for $[the sum of the Allowed (as
                      defined below): (1) DIP Lender's Claim, (2) Len, der's Claim, (3) Administrative
                      Expense, Priority Tax and other Priority Claimsr''(4) Other Secured Claims, and
                      (5) General Unsecured Claims, pursuant tosthiterms set forth in Section IV below,
                      plus (6) $[  ] million. (the "Plan Consideration").


                      The Plan Consideration would be :drstnb ted to stakeholders in accordance with
                      the priorities as set forth herein and as pursuant to the Bankruptcy Code and
                      applicable law.                     #,



                      The Reorganized Company would'be,capitah,ied on a go forward basis with
                                                           t
                      existing cash on its balance sheet pus $.f .; ]- million of cash fromthe Plan
                                           ,
                      Sponsors.

                      The Plan Sponsors' irVesti       Would be subj8etto a definitive restructuring
                      support agreement (the ".RSA ") 'tóékagreed wi#ltbe Debtors on customary terms
                      for such`lrariSactions ThbRSA shaWprovade thàtali,,ofthe material documents
                      relating,fo the'Plan will be-sahsfactory to'the.P.lan Sponsors in their sole
                      discretion. A customary and reasoably acceptable "fiduciary out" will be
                      inclddèd;for the COMpany   .




    IV.    Plan Treatment of CÍums $id'Interests

     Adminishative Expense,      -:On or as Nsoon as   reásönably practicable after the effective date of the
     Priority Tax, and Other      flan (whtclï shall be the first date after confirmation of the Plan that all
     Priority Claims,.             tOtiditions 1t, effectiveness of the Plan shall have been satisfied or
                                   waived (the "Effective Date ") or such later date as agreed to by any
                                   such holder, each holder of an Allowed (as defined herein)
                                   adiAi nistrative expense, priority tax, other priority claim, and
                                  ,professional compensation claim will receive (i) payment of the full
                                 '`àmount of its allowed claim, (ii) other treatment consistent with the
                                   provisions of section 1129(a)(9) of the Bankruptcy Code, or (iii) such
                                  other treatment as agreed to among the holder and the Company,
                                   subject to the consent of the Plan Sponsors. Notwithstanding anything
                                  to the contrary herein, administrative expense claims (inclusive of the
                                  Obligations and related fees and expenses, cure costs, claims for


1 In the event insider -affiliated Equity Holders are interested in participating as Plan Sponsors, the
percentage of ownership will be TBD but will be based on a capital contribution from each party that
is mutually agreeable.
                                                       3

#5600385




                                                                                                                 GLASS000186
       Case 3:16-bk-02230-PMG                                    Doc 1170       Filed 08/27/18         Page 87 of 99




                                                compensation or expense reimbursement by any professionals, and
                                                trade claims payable in the ordinary course of business after the
                                                Effective Date) shall not exceed $[ ], absent the prior written consent
                                                of the Plan Sponsors.

Lenders' Claims                                 On or as soon as reasonably practicable after the Effective Date,
                                                Allowed Lenders' Claims shall receive, at the option of the Company,
                                                in consultation with the Plan Sponsors, (i) payment in full in cash or (ii)
                                                reinstatement or such other treatment sufficient to be unimpaired
                                                pursuant to section 1124 of the Bankruptcy Code. The aggregate
                                                amount of Lenders' Claims shallnot exceed ${          ], absent the prior
                                                written consent of the Plan Sponss rs.
                                                                                 l

 Other Secured Claims                           On or as soon as reasonably practicäble after the Effective Date or such
                                                later date as agreed to by any such holder, all Allowed prepetition
                                                secured claims other t ini Lenders' Cláitns,("Other Secured Claims ")
                                                shall receive, at th.e dr.. tion of the Debtors, iii;bonsultation with the Plan
                                                Sponsors, (i) paymer tt,.in full in cash, (ii) re nit tement or such other
                                                treatment sufficient td, be, unimpaired pursuant to section 1124 of the
                                                Bankruptcy Code, or (ii t) 411b ;return of the applicable collateral in
                                                satisfäcti(in. Qf, the Allowe(l;;aniount of such Secured Claim. The
                                                aggregaté an of nt of Other 'Secured Claims shall not exceed $[               ]
                                                absent the prior       lte? consentiof tjie Plan Sponsors.
                                                                                             it
                                                                                         .




                                                                           1


 DIP Lender's Claim               .:;           T1te.DIP Lender s Claini sbal]}e allowed in the amount of $[     ]. On
                                                                       ,f:.,»,
                                                o assoon as reasonablYP ct cable after the Effective Date, the holders
                                                of Allowed DIP Lender's Claim shall receive payment in full in cash.

 General UnseFur ed                             ;On bras doorl as reasonably practicable after the Effective Date, holders
 Claims.,       i      ]; l   ;                 ó$AÁllowed C,éxteräl Unsecured Claims will receive payment in full in
           44444.-:'
                                        ,       casb, (their Allowed cláims [with interest at the federal judgment rate.]

       Intercompany      Claims             {   x.11  interço pany claims between and among the Debtors shall be
                                                reinstated bar çtmpromised by the Reorganized Company, as applicable,
                                                 cgriSistent with its business plan and subject to the consent of the Plan
                                                Sp©isors.

 Equity Interests                               t. l 'existing   shares of stock, options, warrants, preferred equity
                                                ..'jriterests, and common equity interests in the Company shall be
                                                  extinguished as of the Effective Date, except equity of PRXI in its
                                                subsidiaries and affiliates may be retained to preserve the existing
                                                organizational structure of the Company as of the Effective Date.




                                                                     4

#5600385




                                                                                                                                  GLASS000187
            Case 3:16-bk-02230-PMG                                   Doc 1170        Filed 08/27/18         Page 88 of 99




       V.             Governance of the Reorganized
                                                    Company
       Corporate Organizational TBD, but
                                          to be acceptable to
       Documents                 the Company.                 the Plan Sponsors, in
                                                                                    consultation with
       Majority Shareholder     TBD, but to be acceptable
       Protections                                        to the Plan Sponsors, in
                                the                            Company.             consultation                                 with
       Minority Shareholder                               TBD, but to be acceptable
       Protections                                                                  to the Plan Sponsors, in
                                                          the Company.                                       consultation with
                                                                                               +   -.

      Board of Directors of the                           TBD, but to be acceptable
      Reorganized Company                                                            to the Plan Sponsors,
                                                          the Company. The                                   in consultation with
                                                                              President{and C.BO of the
                                                         the members of the Board                         Debtors will be one of
                                                                                    :gf
                                                         Plan Sponsors will have.the Directp`r5 of the Reorganized Company.
                                                                                      right to nominate
                                                         the Board of Directors and                       additional members of
                                                         Board members.`':; :<`'     decide  on the .appropriate number
                                                                                                                          of total
     Management Incentive                                A management incei ti
     Plan                                                                       \e plan (thé "Managemei
                                                        will bq implemented after'                               VIncentive Plan")
                                                                                       ;the. -Effective Date
                                                        combiìiatioh ,Of cash, options ,and                     that "provides some
                                                        to manarenent Yo4the                  /or other equity -based
                                                                                  Reor6nîzed Company in an amount      compensation
                                                        determined liy, thi'Bobrd of                                           to be
                                                                                       Directors of the Reorganized
                                                       .and which stall dilute     a;    of theiaeorganized Equity        Company,
                                                                                                                          otherwise
                                                            emplated'to'jje issued by;this Term
                                                                                                    Sheet.




            i.    )


   Tax %h rs
                                            fP
                                                            c...
                                                                            -yr
                                                      .The rb çturing will be
                                                      -with the l`° Sponsors, in implemented by the Debtors in consultation
                 .,
                                                                                  a tax efficient manner.
   Reincorporation,        ;   .,
                                                      Reorganized PRXI will be
                                                                                  reincorporated in Delaware
   Objections to Claims             .           Prior to the Effective Date,
   and Equity Interests:                                                         the Debtors shall have
                                        1
                                               'atitl brity, in consultation
                                                 :                                                          the right and
                                             ` 'compromise,
                                                                              with   the Plan Sponsors, to
                                                               withdraw, or litigate to judgment               file, settle,
                                                or interests. From and                            any objections to claims
                                                                           after the Effective Date,
                                                Company shall have the right to                          the Reorganized
                                               any and all claims and             pursue,  object to,
                                                                       interests and commence any compromise or settle
                                               to the allowance of                                    proceedings relating
                                                                    claims and interests.
  Retention of Causes of                             In accordance with
  Action:                                                                 section 1123(b)(3) of the
                                                     causes of action and litigation                   Bankruptcy Code, all
                                                                                      rights (the "Litigation
                                                     Debtors not otherwise settled                            Rights") of the
                                                                                      or released under the
                                                     transferred to the Reorganized                            Plan shall be
                                                                                     Company and nothing contained
                                                                                                                       in the
                                                                        5
#5600385
       Case 3:16-bk-02230-PMG                                Doc 1170       Filed 08/27/18    Page 89 of 99




                                  Plan or the Confirmation Order shall be deemed to be a waiver or
                                  relinquishment of any such Litigation Rights. The Reorganized
                                  Company may (but is not required to) enforce all Litigation Rights and
                                  all other similar claims arising under applicable state laws, including
                                  fraudulent transfer claims, if any, and all other causes of action of a
                                  trustee and debtor -in-possession under the Bankruptcy Code.

 Preservation of                  Any discharge or release provisions of the Plan shall not diminish or
 Insurance                        impair the enforceability of any of the Debtors' insurance policies,
                                  including any that may cover Claims against the Debtors or the
                                  Reorganized Company, and theirf.:', urrent and former officers and
                                  directors, or any other person or entity.

 Exculpations                     The Debtors and the Plan Spönsors,tänd each of their respective current
                                  and former officers and directors, professionals, advisors, accountants,
                                  attorneys, investment`s bankers, consultdnts, employees, agents and
                                  other representad 'es''(each solely in its''C,kacity as such), shall be
                                  exculpated from liability for their actions iri connection with the
                                  Debtors' chapter                     it
                                                          cases, with!, customary çárye-outs for gross
                                  negligence, and willful mi¡conducf, o the extent périn tted by law.
                                              '44:1;.,   h   t
                                                                 ,,.
 Releases                         The Plan' shall ipclude standard :and customary mutual releases and
                                  third partyjeleases £rpm holders' of';claims or interests to the extent
                                  permitted bylaw.                               1,:.



 Discharge         fi:            A fui ;and             compkte,d scharge siall;be provided in the Plan

 Injunction              ;   :;    Ordinary and customary injunction provisions shall be included in the
                                  'Plan : S




VII.

                                       e Deb        ois shall implement the restructuring on the following
                                   t   ' eline:
                                                 No later than [     1, the Debtors and the Plan Sponsors shall
                                                 agree to the RSA. In addition, to a customary "fiduciary
                                                 out" for the Debtors, the RSA shall contain customary
                                                 bidding protections for the Plan Sponsors in the event the
                                                 Debtors determine to pursue an alternative restructuring
                                                 transaction. In the RSA, each Plan Sponsor will agree to
                                                 support the Plan and to vote its shares, and any shares of its
                                                 affiliates or shares otherwise under its control, in favor of
                                                 the Plan.
                                                 no later than [ 1, the Debtors shall file with the
                                                 Bankruptcy Court a motion seeking approval of the RSA
                                                 (the "RSA Approval Motion ");


                                                                       6

#56D0385




                                                                                                                  GLASS000189
           Case 3:16-bk-02230-PMG                                        Doc 1170        Filed 08/27/18         Page 90 of 99




                                                                    no later than [    ], the Debtors shall file with the
                                                                    Bankruptcy Court: (i) the Plan; (ii) a disclosure statement
                                                                    related thereto; and (iii) a motion (the "Disclosure Statement
                                                                    and Solicitation Motion ") seeking, among other things, (A)
                                                                    approval of the disclosure statement, (B) approval of
                                                                    procedures for soliciting, receiving, and tabulating votes on
                                                                    the Plan and for filing objections to the Plan, and (C) to
                                                                    schedule the hearing to consider confirmation of the Plan
                                                                    (the "Confirmation Hearing ");
                                                                    no later than [   ], the B ,
                                                                                              2n.:r .
                                                                                                     uptcy Court shall have entered
                                                                    an order authorizing tly ' i z btors' entry into the RSA;
                                                                                                 A




                                                                    no later than [    ] :i'4! t - ankruptcy Court shall have
                                                                    entered an order :: o , oviri±#, ' e disclosure statement and the
                                                                    relief requested n t e Discl °' . Statement and Solicitation
                                                                    Motion and (ii) no later than tlir W ;. days after entry of the
                                                                    order approving the Disclosure St   .g      -nt and Solicitation
                                                                    Motion, the Debtors shall have comm*ced solicitation on
                                                                    the Plan by maijmg the Solicitation Materials to parties
                                                                    eligible to vote On the Plan,
                                                          o         POI ater than
                                                                               [   L the Bankruptcy Court shall have

                                                                    commenced the Confirmation Hearing;
                                                                    no later than [    ll, the Bankruptcy Court shall have entered
                                                                    an order confirnaingz the Plan (a `Confirmation Order"); and
                                                                 the Effective Date shall be no later than [      ], it being
                                                               rìunderstood that the satisfaction of the conditions precedent
                                                                 tó -the Effecti\ e Date (as set forth in the Plan and this Term
                                                                 Sheet) shall be conditions precedent to the occurrence of the
           q; xc   T   '           s   41 ..
                                                      7          Effective Date.
                                                              j.w

 Other Conditions                        1           The re '` cturing shall also be subject to, among other things, (i) the
                                                     executi    Of Definitive Plan Documentation (to be defined in the
                           .                         RSA) mutually acceptable to the parties to the RSA, which definitive
                               1
                                                     documents shall contain terms, conditions, representations,
                                                     warranties, and covenants, each customary for the transactions
                                                     described herein consistent with the terms of this Term Sheet; (ii) the
                                                     Confirmation Order becoming a Final Order; (iii) all actions,
                                               w.'   documents and agreements necessary to implement the Plan shall
                                                     have been effected or executed and, to the extent required, filed with
                                                     the applicable governmental units in accordance with applicable
                                                     laws; and (iv) the Debtors shall have received all authorizations,
                                                     consents, regulatory approvals, rulings, letters, no -action letters,
                                                     opinions or documents that are determined by the Debtors and the
                                                     Plan Sponsors to be necessary to implement the Plan and that are
                                                     required by law, regulation, or order.



                                                                               7

#5600385




                                                                                                                                        GLASS0001 90
           Case 3:16-bk-02230-PMG                                            Doc 1170            Filed 08/27/18     Page 91 of 99




  Conditions to                               Confirmation of the Plan shall be subject to:
  Confirmation of the Plan
                                                                        The Bankruptcy Court having entered an order in form and
                                                                        substance acceptable to the Plan Sponsors approving the
                                                                        disclosure statement related to the Plan as containing
                                                                        adequate information within the meaning of section 1125 of
                                                                        the Bankruptcy Code and
                                                                        The Plan and all documents contained in any Plan
                                                                        supplement, including any exhibits, schedules, amendments,
                                                                        modifications or supplements: thereto, having been filed in
                                                                        substantially final form and tin form and substance
                                                                        acceptable to the Pan Sponsors.
 Conditions Precedent to                      Unless waived in                    writine
                                                                                Debtors, on the one hand, and the
 Consummation of the                          Plan Sponsors, on the d o er hand, the `    rence of the Effective
 Plan                                         Date shall be subject he satisfaction    to  uch conditions
                                              precedent agreed upon by the Plan Spons rr Lgá d the Debtors,
                                              including, without limitation, the.ollowing:.;,ÿ
                                                                                            I,
                                                                                                                       ::.

                                                                        The RSA shall ;',,          aapproved pursu. i '`i an order of
                                                                        the Bankruptcy Co i         d shall not have been terminated in
                                                                        accordance with its t      m.
                                                                                                   ie ":,
                                                                        Negotiation, execution ans selivery of Defmitive Plan
                                                                        Documentation, in form and substance acceptable to the
                                                                        Plan Sponsors and the Debtors, and otherwise consistent
                                                                        with the terms and conditions described in this Term Sheet
                                '    r   ?.
                                                                        and/or the RSA, as applicable.
                                                                        The Bankruptcy Court shall have entered a Confirmation
                                                                        Order in form and substance acceptable to the Plan Sponsors
           gtt''                                        k           :   and the Confirmation Order shall be a Final Order.
              A    g                                            '       The Plan shall have been supported by the Creditors'
                       ;Q                      r                        Committee, the Equity Committee, and all Equity Holders
                                                                        subject to the RSA as well as insider and insider- affiliated
                                               .:           .           Equity Holders.
 Expense Reimburs           q       ''         3    easonable and documented fees and expenses of counsel to the
                                                   ,'
                                                  Hoc Equity Group and the Plan Sponsors associated with the
                                                   ,
                                               0 ebtors' chapter 11 cases and the Plan and implementation thereof
                                              (the amount of such fees and expenses as of the Effective Date, the
                                              "Sponsor Expense Reimbursement Amount") shall be paid by the
                                              Company on the Effective Date.




                                                                                   8

#5600385




                                                                                                                                          GLASS000191
             Case 3:16-bk-02230-PMG              Doc 1170        Filed 08/27/18        Page 92 of 99




VIM Additional Definitions and Terms


    Other Provisions                The Plan shall contain such other terms and conditions as agreed by
                                    the Debtors and the Plan Sponsors.

Allowed                             Shall have the same meaning set forth in section 502 of the
                                    Bankruptcy Code and as further defined in the Plan.

    Final Order                     "Final Order" means, as applicable an order or judgment of the
                                    Bankruptcy Court or other court offcompetent jurisdiction with
                                    respect to the relevant subject r4atter that has not been reversed,
                                    stayed, modified, or amended, and to which the time to appeal or
                                    seek certiorari has expired and no appeal or petition for certiorari
                                    has been timely taken, or as to which any appeal that has been taken
                                    or any petition for certiorari that has been of nay be filed has been
                                    resolved by the higlae t court to which the order pr judgment could
                                    be appealed or from` h}.ch certiorari could be sau ht or the new
                                    trial, re,-Argument, or rehearing $h:ä11 have been denied; resulted in
                                    no mods Cation of such ordéi ór has otherwise been dismissed with
                                    prejudice, , '                  1




    Issuance of New Common On the Effective Däté; the;,Reorganized Company shall issue and
    Stock; Execution of Plag ;execute all securities, nItesi itistrumen# certificates, and other
    Documents             - dbauments required;ti be iss led and executed in accordance with
                        t     the 1,än.
                                   f`




    Executory Co        acts   1
                                    I    éxequ /ory contracts and unexpired leases not expressly rejected
                >   £     a         shall 'be eemed assu nek pursuant to the Plan. In consultation with
                                    tlt"@Plan SponsotS, the Debtors may reject executory contracts and
                                                            f

         3

                               ]
                                    unexpirred leases ]2 :.'

    No Registi;ation    under the   `'The offer ançi sale of the Reorganized Equity will not be registered
    Securities Acts:                udder the Securities Act and the offering and issuance of the
                                    Reorganized Equity shall be exempt from registration under the
                                    Securities Act pursuant to Section 4(2) of the Securities Act and
                                    1 egulation D thereunder or pursuant to section 1145 of the
                                    Bankruptcy Code.

    No Admission                    Nothing in this Term Sheet is or shall be deemed to be an admission
                                    of any kind as to the extent, validity, or priority of any claims or
                                    interests held by any parties hereto.




2Existing employment arrangements for the Debtors' management team 1'BD, with the intention that
management remain employed on terms consistent with their current employment arrangements.
                                                        9

#5500385




                                                                                                             GLASS000192
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 93 of 99




              Exhibit E
Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 94 of 99

                                                                     1

               UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF FLORIDA
                    JACKSONVILLE DIVISION


 In re:
 RMS TITANIC, INC., et al.,            CASE NO:       3:16-bk-02230-PMG
          Debtors.
_________________________/


                   TRANSCRIPT OF PROCEEDINGS

     DATE TAKEN:          July 25, 2018
     TIME:                1:30 p.m. - 3:25 p.m.
     PLACE:               United States Courthouse
                          300 North Hogan Street
                          Courtroom 4A
                          Jacksonville, Florida 32202
     BEFORE:              The Honorable Paul M. Glenn
                          U.S. Bankruptcy Judge




 This cause came on to be heard at the time and place
 aforesaid, when and where the following proceedings
                were transcribed by:

                  Cindy Danese, Notary Public
                  STATEWIDE REPORTING SERVICE
                233 East Bay Street, Suite 912
                 Jacksonville, Florida 32202
                         (904) 813-9280
     Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 95 of 99

                                                                          2

 1                        A P P E A R A N C E S
 2
          DANIEL F. BLANKS, ESQUIRE
 3        HARRIS WINSBERG, ESQUIRE
          MATT BROOKS, ESQUIRE
 4        BRIAN A. WAINGER, ESQUIRE
          WILLIAM POYNTER, ESQUIRE (via telephone)
 5
                 Attorneys for Debtors
 6
 7        JAY BROWN, ESQUIRE
          KATIE FACKLER, ESQUIRE
 8        PETER GURFEIN, ESQUIRE
 9               Attorneys for the Equity Committee
10
          TIMOTHY GRAULICH, ESQUIRE
11        PATRICIA REDMOND, ESQUIRE
          JACOB WEINER, ESQUIRE (via telephone)
12
                 Attorneys for Trustees of the National
13               Maritime Museum
14
          JEFFREY CHUBAK, ESQUIRE
15        RICHARD THAMES, ESQUIRE
          ROBERT A. HEEKIN, JR., ESQUIRE
16
                 Attorneys for the Unsecured Creditors
17               Committee
18
          JASON BURNETT, ESQUIRE
19        ASHLEY EDWARDS, ESQUIRE
20               Attorneys for 417 Fifth Avenue South and Luxor
                 Hotel and Casino
21
22
          JENNIFER FELDSHER, ESQUIRE
23        STEVEN BUSEY, ESQUIRE
          DAVID LAWTON, ESQUIRE (via telephone)
24
                 Attorneys for Alta Fundamental, Apollo
25               Global
     Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 96 of 99

                                                                          3

 1                       APPEARANCES (CONTINUED)
 2
 3        SCOTT GROSSMAN, ESQUIRE
 4               Attorney for HaiPing Zou, Jihe Zhang and
                 Lange Feng, and PacBridge Capital Partners
 5
 6
          JOHN ISBELL, ESQUIRE
 7
                 Attorney for Bay Point Partners
 8
 9
          MATTHEW TROY, ESQUIRE
10
                 Attorney for USDOJ and NOAA
11
12
          STEVEN FOX, ESQUIRE
13
                 Attorney for Cedar Bay
14
15
          ROBERT CHARBONNEAU, ESQUIRE
16
                 Attorney for Premier Equity Committee
17
18
          HOWARD SIEGEL, ESQUIRE (via telephone)
19
                 Attorney for Euclid Claims Recovery, LLC
20
21
          DAWN MCCARTY, ESQUIRE (via telephone)
22
                 Attorney for Bloomberg, LP
23
24
          MIRIAM SUAREZ, ESQUIRE
25
                 Attorney for the U.S. Trustee
     Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 97 of 99

                                                                            50

 1        covenants and conditions required all of the
 2        artifacts to remain in one collection.                  And the
 3        Debtor filed a pleading in which, frankly, was a
 4        pleading that I thought could have been filed by
 5        the Equity Committee, noting that in fact the
 6        language in the covenants with respect to a single
 7        collection were precatory and aspirational, but
 8        that the French artifacts are clearly not within
 9        the jurisdiction of the district court.
10               And you have to wonder why, if the Debtor is
11        selling to a third party and will no longer be
12        involved in the artifacts, why the Debtor is
13        concerned about shoring up the identity of the
14        French artifacts as not being within the
15        jurisdiction of the district court.
16               If the proposed purchasers have an intention
17        to sell the French artifacts in the future, they
18        would be realizing upon the value that the Equity
19        Committee believes should be realized upon now
20        while the assets are before Your Honor.                  And if
21        they have no intention of selling the French
22        artifacts separately, perhaps we can talk about
23        impressing a trust upon those artifacts, so if at
24        some time in the future they are sold, creditors
25        who are not made whole, and Equity, who is not in a
     Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 98 of 99

                                                                             51

 1        position to realize on that value, will be able to
 2        realize upon those values in the future.
 3               These are all things that we can talk to the
 4        Debtors about, talk to the Creditors Committee
 5        about, talk over the next 30 days or so.
 6               It would be our request, Your Honor, coming
 7        out of this status conference, that we do set a
 8        timeline.     We believe that the Debtor should be
 9        operating under a plan at this late date in the
10        case disposing of all of the assets so that
11        stakeholders will have a direct opportunity to have
12        a voice in that decision.
13               The Debtors already have a plan on file that
14        they withdrew that could be modified readily, and
15        they have two disclosure statements from which to
16        work to shore that up.
17               Within two weeks, three weeks, we should be
18        able to have a disclosure statement that we all can
19        agree upon and have a hearing some 30 days out, 40
20        days out, to determine whether the disclosures are
21        appropriate, adequate and sufficient.                 Let a ballot
22        be created that can go out to all of the stake-
23        holders for their vote so that Your Honor will have
24        the benefit, at least, of their views.                  30 to 45
25        days past that, we're into late September, early
     Case 3:16-bk-02230-PMG   Doc 1170   Filed 08/27/18   Page 99 of 99

                                                                               60

 1        wants to take the financial risk of these assets,
 2        Your Honor.     This company has been in bankruptcy
 3        for two years.       It's been shopped for essentially
 4        all two years.       Nobody has stood up and put their
 5        money where their mouth is.
 6                And now Mr. Gurfein suggests that they'd be
 7        happy to take a free ride on any upside that the
 8        only party who's willing to put any money at risk
 9        is going to ever see from the transaction.                      That's
10        the definition of unfairness, and I don't care what
11        state you're from.
12                So, Your Honor, I believe everybody's had
13        ample time.     I believe this Debtor has had ample
14        time.    I believe that the Debtor is telling you
15        they are out of time, and we see that as well from
16        our diligence into the Debtors, and we are very
17        concerned that we will not be able to buy this
18        asset as a going concern, which is what we want to
19        do.
20                We understand the lure for the Debtors of
21        giving the parties and the museum a little more
22        time to raise their money.            We don't agree with it,
23        obviously, but some of that is a bit self-serving
24        for us, but we understand that lure.
25                But we ask Your Honor to set a hearing for the
